CaSe 16-04147-|\/||\/|7 Filed 07/05/16 Entered 07/05/16 14247229 DOC 1 PQ. 1 Of 65

FHI m this information to identify your Ca$e:

United States Bankruptcy Court fo_r ihe:
SOUTHERN Districtof CALlFORNlA

 

Case number (ir' , l b ' OL(' L'{_)._ V' H gll%apter you are filing under:

`Chapter7

_ b Cl chapter 11
(Q 61P ZZ»Q57 [§*§:::::§ L'.l checkifmi§is an
amended iiian

 

 

foicial Form 101
Voluntary Petition for lndividuals Filing for Bankruptcy 12/15

Thebarhuptcyfe¢msuseyouandetonwreferwadebwrminga|one.Amarriedeoup|emaymabankruptcyelaemr-cal|eda
jolntcase-andinjointcases,thesefonnsuseyoutoaskforinfomationh'ombothdebters. Forexample,ifaformasks,“Doyouownacar,"
theanwerwould beyesifeid\erdebtorewnsacar.When information isneededaboutthespousesseparate|y,thefonnusesDebmr1and
Deb¢erztodislinguishbetweenthem.lnjoimcases,oneoftlnspmuesmnpatinfomla&enasbebwrdandtmmasbebbrz.m
sameperson mustbeDebtoanal|ofthefonns.

Beascompleteandaccurateaspossible.|f\womarried peop|earefilingwgether, bomareequdlyresponsibleforsupplyingeonect
lnformation.ifmorespaeeisneeded,amchaseparatesheettothisferm.Onthetopofanyaddiliena|pages,writeyournameandeeeenmnber
(if knewn).Answer every question.

mdentify '{ourself

 

 

 

 

 

 

 

 

 

 

 

 

About Debtor 1: About Debtor 2 (Spouse Only in a Jeint Case):
1. your full name
Write the name that is on your Angela
govemment-issued picture w
identiiwtion (for exampie, Fi'st "_am° F"St name
your drivers license or Mll'l€
passport). Middle name Middie name
Bring your picture grown
identification to your meeting Lasi name \-ast name
with the truswe.
sumx (Sr., Jr., il, lil) Suiiix (Sr., Jr., II, m)
2. All other names you A!geh
haveusedinthelasts F;,Smame F,,s,name
years
Inc|ude your [nanied or Midd\e name Middle nam
maiden names. Am|erson
Last name Last name
First name Flrst name
Midd|e name Midd|e name
Last name Last name
3. On|ythelast4digits of
yourSocialSeeurity Xxx °'xx'°-z-m_--__ XXX _XX_____.__.__
number or federal oR oR
lndividual Taxpayer
idenuncauonnumber 9>°<~><><-______ 9>0<-)<><-___________
(lTlN)

 

 

Ofncia| Form 101 Vo|untary Petition for lndividuals Fi|ing for Bankruptcy page 1

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Debtor 1 A_llgeln Mal'ie Browll Case number whom
First Nsne kidde Name Last Nune
About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

4. Any business names

2 l have not used any business names or Ele.

n l have not used any business names or Ele.

 

 

 

and Employer

ldentitication Numbers

(EIN) you have used in

the last 8 years Business name Business name

lnclude trade names and

domg busmess as names Business name Business name
T______""_"'_ T_________`
ETN___`__‘"`__'__ Ei_N_-_______

5. Where you live lf Debtor 2 lives at a different address:

930 Brooktree Ln #65

 

Number Street

Number Street

 

 

 

Vista CA 92081

city state 2lP code City State zlP code
Mgo

County C°Umy

if your mailing address is different from the one
above, fill it in here. Note that the court will send
any notices to you at this mailing address.

930 Brooktree Lo #65
Number Stteet

lf Debtorz’s mailing address is differentfrorn
yours, fill lt ln here. Note that the court will send
any notices to this mailing address.

Number Swet

 

 

 

 

P.o. sex P.o. Box

Vista CA 92081

city state ziP code city state ziP code
6. Why you are choosing Check one: Check one:

 

 

 

 

 

 

 

 

 

this district to tile for
bankruptcy a Over the last 180 days before filing this petition, g Over the last 180 days before filing this petition,
l have lived in this district longer titan in any l have lived in this district longer than in any
other district other district
n l have another reason. Explain. n l have another reason. Explain.
(See 28 U.S.C. § 1408.) (See 28 U.S.C. § 1408.)
Ofiioial Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 2

 

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Demor 1 Angela Marie Brown Case number nmi
First flame Mfdde Nune Leet Name

TellthecourtAhout¥ourBankmptcycase

1. Tl’le chapter of the Check one. (For a brief description of each, see Nofice Required by 11 U_S_C_ § 342(b) for individuals F,.I,.ng
Bankruptcy Code you fOrBankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box_
are choosing to file
under la Chapter 7
U Chapter 11
Cl Chapter 12

[D__§Chapter 13

a. How you will pay the fee [__lj;l will pay the entire fee when l file my petition. Please check with the clerk’s office in your
local court for more details about how you may pay. Typically, 'rf you are paying the fee
yourself, you may pay with cash, cashier’s check, or money order. lf your attomey is
submitting your payment on your behalf, your attorney may pay with a credit card or check
with a pre-printed address.

El l need to pay the fee in installments |f you choose this option, sign and attach the
Application for lndividuals to Pay The Filing Fee in Installments (Ofticial Form 103A).

lai request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
less than 150% of the official poverty line that applies to your family size and you are unable to
pay the fee in installments). lf you choose this option, you must fill out the Application to Have the
Chapter 7 Filing Fee Waived (Official Form 103B) and tile it with your petition.

 

 

 

 

 

 

 

 

 

 

 

 

9. Have you filed for lE'§N°
bankruptcy within the _ _
hist 3 years? li;iYes. Dislmt When MM/ DD/ Case number
District When Case number
MM/ on l YwY
District When Case number
MM/ DD/YYY¥
10. Are any bankruptcy E';No
cases pending or being l-_ . .
filed by a spouse who is D‘Yes~ D°b"°' Re'a”°“$"'pt° y°"
not filing this case with mm when case ninnber, itmown
you, or by a business MM / DD lYYYY
partner, or by an
affiliate?
Debtor Rolauonshtptoyou
Disfn'ct When Case rumber, if known
MM l DD /YYYY
11. Do _you rent your §No. Go to line 12.
md°"°°? ¢Yas. Has your landlord obtained an eviction judgment against you and do you want to stay in your
residence?

fUiNo. co to line 12.

[El`;ves. Fiii out initial statement Aboui an Evioiion Judgment Against You (Fonn 101A) and tile it with
this banknlptcy petition.

Oflidal Form 101 Volun\ary Petition for |ndividuals Filing for Bankruptt:y page 3

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m 1 Angeia Marie Brown Case number miami
Fkll Nlne tidde Nano Laet Ntlne

Part 3: ReportAboutAnyBusinosses¥ou°wnasaSoiel'ropriewr

 

12. Are you a sole proprietor |E§Nn_ com Part4_
of any full- or part-time ` .
business? 1:1;_11Yes.Name and location of business

A sole proprietorship is a
business you operate as an . .
individual, and is not a "a"'° °" b“s"“i‘$' ‘* a"y
separate legal entity such as

:lc§rporatlon, partnershlp, or Nu

 

 

lf you have more than one
sole proprietorship use a
separate sheet and attach it
to this petition.

 

 

city state ziPcooe

Check the appropriate box to describe your business:

lu?Healuw Care Business (as defined in 11 U.S.C. § 101(27A))
p$ingle Asset Real Estate (as defined in 11 U.S.C. § 101 (518))
|'U'l Stockbroker (as defined in 11 U.S.C. § 101(53A))

|`l'_'l'»: commodity Broker (as trained in 11 u.s.c. § 101(6))

 

 

M None of the above
13. Are you filing under lf you are filing under Chapter 11, the court must know whether you are a small business debtor so that if
chapter 1 1 °f the can set ammpriate deadlines lf you indicate that you are a small business debtor, you must attach your
Bankmptcy code and most recent balance sheet, statement of operations, ash-flow statement and federal income tax return or if
m you a small business any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(8).
debtor?
_ _ a No. l am not filing under Chapter 11.
For a definition of small
business deb'°"’ 599 n No. l am iling under Chapter 11, but l am NOT a small business debtor according to the definition in
11 U-S-C- § 101(51 D)- the Bankruptcy Code.

13 Yee. l am filing under Chapter 11 and l am a small business debtor according to the definition in the
Bankruptcy Code.

mw“¥wownu"mlnyuuadous?mpatyumy?mpedywl”dslmmediahm€”

 

14. Do you own or have any 2 No

Pmpe that poses or is
alloge:y¢° pose a threat Ci Yes. what is the hazani?

 

of imminent and
identifiable hazard to

 

publicmalthorsafety?
Crdoyouownany

pmm that needs lf immediate attention is needed, why is it needed?

 

immediate attention?
For_example, do you own

 

perishable goods, orlivestock
that must be fed, or a building
that needs urgent repairs?

Where is the property?
Number Street

 

 

city state ziP cone

Oliicial Form 101 Voiuntary Petition for individuals Filing for Bankruptcy page 4

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Debwr 1 Qgela Marie

FiratName MddeNzne

Browo Case number miami

Lmleie

Part 5: Explain Your Efforts to Receive a Briefing Abouf: Credit Counseling

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
mceive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices lf you
mnnot do so. you are not
eligible to file.

if you file anyway, the court
can dismiss your case, you
writ lose whatever filing fee
you paid, and your creditors
can begin collection activities
agaln.

Oflicial Form 101

About Deb‘lor 1:

You must check one:

vi received a briefing from an approved credit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l received a
certificate of completion.

Attachacopyoftl'lewrtiticateandthepayment
pian, if any, that you developed with the agency.

n | received a briefing from an approved credit
counseling agency within the 180 days before l
filedthisbankruptl:ypedtion,butldonothavea
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

n l certify that i asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after l made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed ifthe court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

if the court is satisfied with your reasons. you must
still receive a briefing within 30 days after you tile.
Vou must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, ifany. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

[J lamnotrequiredtoreceiveabr'iefingabout
credit counseling because of:

cl lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about iinances.

El owmlity. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after l
reasonably tried to do so.

El Ar:tiye duty. l am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briehng about credit counseling, you must his a
motion for waiver of credit counseling with the court.

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

glreceivedabriefingfromanapprovedcredit
counseling agency within the 180 days before l
filed this bankruptcy petition, and l recein a
certificate of compietion.

Attachacopyofthewrtiticsteandthepayment
plan, if any, that you developed with the agency.

Cl lreeeived abnenngrrom an approved credit
counseling agencywithinthe 180 days beforel
Eledthisbankruptcypetition,butldonothavea
certificateofcompletion.

Wrthin 14 days after you file this bankruptcy petition,
you MUSTfile acopyofthe certificate and payment
plan, if any.

E] leertirylltatlaslredrdrmditdeunseling
services from an approved agency, but was
unable to obwin those services during the 1
daysafterl mademyrequest,andexigent
circumstances merit a 550-day temporary waiver
of the requirement

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the brieiing, why
you were unable to obtain it before you filed for
bankmptcy, and what exigent circumstances
required you to file this case.

Your ease may be dismissed ifthe court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankmptcy.

if the court is satisfied with your reasons. you must
still receive a briehng within 30 days after you hie.
You mustfileacertiiimtefromtheapproved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 130-day deadline is granted
only for cause and is limited to a maximum of 15
days.

n lamnotrequiredtorecefveabriefingabout
credit counseling because of:

Cl lncapacity. l have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances

El disability My physical dwbility causes me
to be unable to participate in a
briefing in person, by phone, or
through the intemet, even after l
reasonably fried to do so.

12 Active duty. l am currently on active military
duty in a military combat zone.

lfyoubelieveyoualenotrequiredtoreceivea
briefing about credit counseling, you must file a
motion for waiver cf credit counseling with the court.

Voluntary Petition for individuals Filing for Bankruptcy page 5

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Debtor1 Angela Marie Brown Case number rrlmom)
Fiot Nm\o lldlh Name Lnst Nane

 

 

mmr“memestionsforkeportingl*urposes

16. What kind of debts do
you have?

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 u.S.C. § 101(8)
as 'incurred by an individual primarily for a personal, family, or household purpose."

@ No. Go to line 16b.
li-Wes. Go to line 17.

16b. Are your debts primarin business debls? Busr'ness debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment

lai No. Go to line 16c.
lTJ` Yes. Go lo line 17.

16c. State the type of debts you owe that are not consumer debts or business debts

 

 

11. Are you filing under
Chapter 77

m No. l am not filing under Chapter 7. Go to line 18.

D° you estimate that after la'l Yes. l am liling under Chapter 7. Do you estimate that after any exempt property is excluded and

any exempt property is
excluded and

administrative expenses are paid that funds will be available to distribute to unsecured cwditors?

lamb

administrative expenses
are paid that funds will be
avaihble for distribution
to unsecured creditors?

DYes

1o. How many creditors do
you estimate that you
owe?

@1-49 `1,000-5,000
,: t »5,001-10,000
|U10,001-25,000

lb_` i25,001-50,000
[_E§so,ool-loo,ooo
Fi:More man loo,ooo

 

 

19. l-low much do you lU'i$l ,000,001-$10 million

 
 
 
 

Cl $500,000,001-$1 billion

 

 

estimate your assets 10 'sso,ool-$loo,ooo |l:l"slo,ooo.ool-$so million El s1 ,ooo,ooo,oolslo billion
be *°'u'? ;$100,001-$500,000 U'$so,ooo,ool-smo million El $10,000,000,001-$50 binion
l 0,001-$1 million [l'_'l`:sloo,ooo,ool-$soo million El Moro than ssa billion
zo. blow much do you [E_li $o-$so.ooo El_z$l,ooo,ool-$lo million El $500,000,001-$1 billion
estim¢f¢ your liabilities ';sso,ool-$wo,ooo yslo,olio,ool-$so million El sl,ooo.ooo,ool~$lo bilrion
*° b°? l j$100,001-$500,000 Uz$so,ooo,ool-$loo million El slo,ooo,ooo,ool-$so billion
[Jssm,ml-$l million p?sloo,ooo,ool-$soo million Cl Moio than 550 billion
Part 7: Slgl\ m
l have examined this petition, and l declare under penalty of perjury that the infonnation provided is true and
F°T you correct

lf l have chosen to file under Chapter 7, l am aware that l may proceed, if eligble, under Chapter 7, 11,12, or 13
of title 11, United States Code. l understand the relief available under each clapter, and l choose to proceed
under Chapter 7.

lfnoattorrieyrepresentsmeand l didnotpayoragreetopaysomeonewhoisnotanattomeytohelpmelillout
this document l have obtained and read the notice required by 11 U.S.C. § 342(b).

lrequestrelief in accordancewilhthe chapteroftide11,United States Code,specilied intl'lis petition,
l understand making a false statement, concealing property, or obtaining money or property by fraud in connection

with a banknlptcy case can result in lines up to $250.000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

x @///?/)Ozm x

Signature of Debtor 1

omonQ__OB_lQLb

MMlDD/YYYY

 

Signature of Debtor 2

Executedon
MMl DD l¥YYY

 

Official Form 101

;,~,-iw _;

Voluntary Petition for lndividuals Filing for Bankruptcy page 6

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gagnon gets Marie Brown case number wle
Fllst lee Md¢le None ust Name

 

 

n rib-ns o., ,, ». rr ~;».t " 7 . ,, '...\,, ~ l , '. l, 4 ~,.,'o,',» g h.; o , ~»., . y .~,._,/,n,,'v.¢;,. \ … . ¢

l, the attorney for the debtor(s) named in this petition, declare that l have informed the debtor(s) about eligibility
F°' y°"' a“°"'°¥' " ¥°" a'° io proooed under chapter 1, 11, 12, or 13 of lillo 11, united states code, and have explained the relief
rem by one available under each chapter for which the person is eligible. l also certify that l have delivered to the debtor(s)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that l have no
if yo\l are not represented knowledge oiler an inquiry lhat iho informaiion in mo schedules iiled wilh lho petition is inoorrecr.
by an attomey, you do not

 

 

 

 

 

 

 

 

need to file this page. x
Date
SignatureofAttomeyforDebtor MM / DD IYYYY
Printed name
Flml name
Number Street
City State ZlP Code
Contact phone Email address
Bar number S\ate

      

 

Oflicial Form 101 Voluntary Petition for lndlviduals Filing for Bankruptcy page 7

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Dobwr 1 Aggela Marie Brown case number nmi
Flrst Nam- |Mde Name Lad Name

 

vi ,c~,

     

For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy coult, but you
baan Wi¢h°l|f an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attomey.
lf you are represented by
an au°mey, y°u do not To be successful, you must correctly tile and handle your bankruptcy case. The rules are very

need to me this page_ technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administration or audit
firm if your ease is selected for audit. lf that happens, you could lose your right to file another
case, or you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to hle with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules lf you do not list a debt, the debt may not be discharged. |f you do not list
property or properly claim it as exempt, you may not be able to keep tile properly. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
mse, such as destroying or hiding property, falsifying lecords, or tying. individual bankruptcy
mses are randomly audited to determine if debtors have been accurale, truthful, and complete.
Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

lf you decide to file without an attomey, the court expects you to follow the rules as if you had
hired an altomey. The court will not treat you differently because you are filing for yourself. To be
successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is tiled. You must also
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

` n No

Zl'es
Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

UNo

lles
Did you pay cr agree to pay someone who is not an attorney to help you fill out your bankruptcy fonns?
n No

n Yes. Name of Person .
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Ofl'lcial Form 1 19).

 

By signing here, l acknowledge that l understand the risks involved in filing without an attomey. l
have read and understood this notice, and l am aware that filing a bankruptcy case without an
attorney may cause me to lose my rights or properly if l do not properly handle the case.

 

 

x mbm/ri 3‘
Signature of Debtor1 Signature of Debtor 2
m OM m m

 

 

 

Emailaddress

   
   

 

 

rlr*e»idsiiiirrweiis~ii» , . viii

 

Otticial Form 101 Voluntary Petition for individuals Filing for Bankruptcy page 8

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Fill m this iniol"r‘.atloli to identify your case

Debwr 1 Angela Brown
Fim Name Lao\ Name

 

 

Debtor2
(Spouse,ifflling) Fllslmmo tamm Laernme

united states Bankruptcy counter trie: SOUTHE§Diemor or CALIFORNIA

ceee number El check innis le an
rif mmi amended filing

 

Ofl'lcial Form 1068um
Summary of Your Assets and Liabilities and Certain Statistical lnformation 12115

Beasomnpleteandaccunteaspmlbh.Ntwomardedpoopbmhlingtogetller,bothareequallyresponsihleforsupplylngcorroct
information Fill outall ofyour schedules tirst; then completethe information on this form. lfyou aretiling amended schedulesaflleryoufile
yourorigina|forms,youmusttilloutanewSummaryandchecktheboxatthetopofthis page.

 

 

 

mmarize Your Assets

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§ ¥our assets
§ Value of what you own
1. schedule A/B.~ Properry (oliicial Form 106A/B)
ie. copy line 55, Total real esiate, from schedule A/B $ °
1b. Copy line 62, Total personal properly, from Schedule A/B ............................................................................................... s 4300
§ rc. Copy line 63, Tota| of all property on Schedule A/B s 4300
msummarize ¥our liabilities
§ Your liabilities
§ Amount you owe
§ 2. Schedule D: Creditors Who Have Claims Secured by Pmperty (Oflicia| Form 1060)
'; za. copy the total you listed in column A, Amounr ofclaim, al the bottom of the last page or Parl 1 of schedule o ............ $ _1_5_0§L___
f 3. Schedule E/F.' Credr'tors Who Have Unsecured Claims (Oflicial Form 106ElF)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ............................................ s o
§ 3b. Copy the total claims from Pal’t 2 (nonpfiority unsecured claims) from line 61 of Schedule E/F ....................................... + $
Your local liabilities s 55939 §
Part 3: $ummarizeYourlm:omeandExpenses §
4. schedule l.- Yourlnoome (orlieial Form 1060
` copy your combined monthly income from line 12 of schedule l 5 1336
s. sdledule .l.- Your Expenses (orlicial Form 10le
§ Copy your monthly expenses from line 22c of Schedule J $ 2657

thcial Form 1068um Summary of Your Assets and Liabilities and Certain Statistical lnformation page 1 of 2

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Debtor 1 Allgela Mal'ie Bl'owll Case number (lrmwn)
anemu ma lamb merriam

Parr 42 Answer These Questions for Mministratlve and Statistical Records

a. Anyourilingrorbonlrrupwy underchapters 1,11, or 137

n `lc. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedJ|es.
\’ fes

 

 

 

 

: 1. what kind ofdebr do you have?

B_?Your debts are primarily consumer debts. Consumer debts are those “incun'ed by an individual primarily for a personal,
family, or household purpose.' 11 U.S.C. § 101(8). Fill out lines 8-99 for statistical purposes 28 U.S.C. § 159.

DYour debts are not primarily consum debts ¥ou have nothing to report on this part ofthe forrn. Check this box and submit
this for'rn to the court with your other schedules

 

l 8. From the Statement of Your Current Monthly lncome: Copy your total current monthly income from Oticia|
§ Form 122A-1 Line 11; 0R, Form 1228 Line11; OR, Form 1220-1 Line14. $ 1336

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.

 

Total claim
§ From Part 4 on Schedule E/F, copy the following:

93. Domestic support obligations (Copy line 6a.) $ o

9b. Taxes and certain other debts you owe the government (Copy line 6b.) $ 0

9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $_9__.__
9d. Student loans. (Copy line 6f.) $ 9

9c. Obligations arising out of a separation agreement or divorce that you did not report as s o

priority claims. (Copy line Sg.)
9f. Debts to pension or protit-sharing plans, and other similar debts. (Copy line 6h.) + $ 0
99. 'l'otal. Add lines 93 through 9f. 5 0

 

 

 

Oliicial Form 1OSSum Summary of Your Assets and Liabilities and Certain Stattstical information page 2 of 2

Case 16-04147-|\/||\/|7 Filed 07/05/16 Entered 07/05/16 14:47:29 DOC 1 Pg. 11 Of 65
‘:i'.w.~' information to identify your case and this fillng;

Debwr 1 Angela Marie
Fnt Name Mirld¢ Name

Debtor2
(Spouse,iffiir\g) FirstName Mddlomne LaetNeme

 

united states Bankruptcy court for lhe: SOUTHER Dlebiol or CALlFORNIA

Case number

 

Ci cheek if this le an
amended filing

 

 

Official Form 106A/B
S¢hedllle A/B: Fl'°|)el"l:y 12115

ineach category,separateiylistanddescribe`nems.Llstanassetonlyonce. ifanassettitcinmorethanonecallegory,llsttheauetintl'le
categorywhere you thinkittitsbest. Beascompiete and accurate as possible.iftwemarried peopleare filing together,bo¢lareequally
responsibleforsuppiyingcorrectinfonnation.lfmorespaceisneeded,mchaseparatesheetwmisfom°nthetopofanyaddidonalpaps,
writeyournameand casenumber(if known).Answer every question.

 

Part 1: Describe Each Residence, Building, Land, or other Real Estate You own or Have an lntereet ln

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

ii No. co lo Pan 2.
[u-§ Yes. Where is the property?

 

 

 

 

 

 

 

Whatistheproperty?Checkaiithatappiy. nomdedud ll. or |. _Put
n Singie-famiiy home tgs amur;tv:fo any secured claims on bs;l:hedirle D:
1.1. . . . . rumors Havgclaunssammd property
Street address. if availabi' e, or other descnp' lion cl Dup|ex er _mum_umt bu“d"_`g
cl C°"d°'“""“m °' °°°Pe'a”"e Current value of the Current value of the
Cl Manuraclured or mobile home entire property? portion you own?
n Land 5 s
n investment property
_ m Timesha,e Describe the nature ofyour ownership
C“y S'at° Z'PC°de n interest(suchasfeesimple,tenancyby
Othe' tire entireties, or a life estate), if known.
Whohas aninterestintl'leproperty?Cheekone.
Cl Debror1 only
gm 0 Debtor 2 only
E|Debtomandnebwrzomy Cha:_klfthlslscommunrtyproperty
(see lnstructlons)

n At least one oftlle debtors and anothm
Other information you wish to add about this item, such as local

 

 

 

 

 

 

 

 

property identification number:
if you own or have more than one, list here:
wh°tism°p'°pemch°°ka""'a*app"" oonoideducreeoureddoimsorexemprlonepur
n Singie-famlly home the amour::,fo any secured claims on Sclledule D:
1 _2_ . . . . Cf€dllOlS' Have Claims Secule by Pmpedy.
3m address’ if _ ue’ or _pu°n n Duplex or multl-unlt bulidlng
n COndOml“Nm °' cooperative Current value of the Current value of the
n Manufactured or mobile home entire property? portion you own?
E.l Land 3 3
n investment property
cl Timeshare Deecribe the nature of your ownership
City State ZlP Code interest (such as fee simple, tenancy by
n 0"‘9' the entireties, or a life estate), if known.
Who has an interest in the property? Checkone.
m Debtor 1 only
Cwmy Cl Deblor 2 only
E]oeblorlendoebmrzonly Dcheel¢irmieisoommunilyp¢operry
Ci Ar least one or the clemons end another (see instructions

other informationyouwishtoaddaboutthisitem,such asleeai
property identification number:

 

Oiliciai Form 106A/B Scheduie NB: Property page 1

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Debtor 1 Angela Marie Brown Caw number whom
mm wm LMNIM
whatisuiepmpemche°kaumapi*¥- Donotdeductsecureddaimsorexemptions.Put
~ - theamountotanysecuredohimson$cheduleD:
1.3. n S'"g'°'fa'“"y h°me creditors morrow claims searredoyProperty.

n Dupiex or multi-unit building
n Condominium or cooperative
n Manufactured or mobile home

Stleetaddress,ifavaiiabie,orolhordescription
Currentvalueofthe Currentvalueofthe
entirepropelty? portionyouown?

 

 

 

 

 

 

 

 

 

 

 

Cl Land 5 3
a investment property be the
- Descri nature of your ollmership
ZlP code
my Sme n T'mesham interest (such as fee simple, tenancy by
a Oiher the enuretlee, or a llre eelate), ll known.
Whohasaninterestintheproperty?Checkone.
E] Debtor 1 only
C°"my Cl nebtor 2 only
El Debtor 1 and Debtor 2 only n Che<=_k ii fhi§ is community Pr°l»¢fly
Cl At least one of the debtors and another (see "‘S""°“°"S)
Other information you wish to add about this item, such as local
property identification number:
2. Mdthedollarvalueoftheportionyouownforallofyourentriesfmm?art1, includinganyentriesforpages s 0
you have attached ror Pert 1. write that number here. ...................................................................................... 9
Part 2: describe Your \Ieihiclos

 

Do you own, lease, or have legal orequitable interest in any vehicles, whether they are registered or not? include any vehicles
youownthatsomeoneeisedrives. lfyouieaseavehic|e, also reponiton Schedule G:Execul‘oryContractsandUnexpiledLeases.

3. Cals, vans, trucks, tractors, sport utility vehicles, motorcycles

line
|V;Y'es

 

 

3_1_ Make: T¢|ym Who hasan interest intheproperty?Checkone. Domtdedwsew,eddaims°,mm_pm
the amount of any secured claims on Sdledula D:
z Cnrolla d Dehtor1 only mem marrero clam searedl»ynvpeny.
2008 E] Debtor 2 only
Yea‘"' ___-___- U Debtor 1 and Debtor 2 amy Current value of the Current value of the
App'°ximate m“eage: _wB-’L cl At least one of the debtors and another entire p you m?
Other informaiion: w
nos Toyot, Cm.on, El cheek innis is community property (see $ ‘°°° 3

 

 

 

if you own or have more than one, describe here:

instructions)

3_2_ Make: Wh°hasa"i'wmmmp'm¢yicmd‘°"e- Donoldeductsecureddalmsorexemptions.Pm
nnebwr_'on'y meamountofanysecluedclaimson$cheduieD:
Model: CIeditorsWhoHaveClal'msSecl.lledbyProperty.
Unel>torzonly
Year: nfl wmdnll zon|y Cun'entvalueofthe Currentvalueofthe
. . _ entireproporty? portion uown?
/’\Pl-irox""icite mileage- ClAt least one ofthe debtorsandanother y°
Otherinfomlaiion:

 

 

 

 

Omcial Form 106A/B

El cheek irthls is community property (see
instructions)

schedule NB: Property

pagel

CaS€ 16-04147-|\/||\/|7

 

Debtor 1 Angela Marie Brown case number wm)
Flrst Name lidde Name
33_ Make: Who has an interest in the property? Check one.
Model: |,EED°"‘°' 1 °"'V
Year- Debtor 2 only
Debtor 1 and Debtor 2 only
APP'°Ximai° mileagef `At least one or the debtors and another

Other infomlation:

 

 

 

 

3.4. Make=
Model:
Year:
Approximate mileage:
Other information:

 

 

 

 

cl Check ifthis is community property (see
instructions)

Whohasaninterestinthe property?c:heckone.

m Debtor 1 only

all Debtor 2 only

Clll)ebtor 1 and nebtorz only

C]iAtleaet onoollhedebtors and anomer

   
 
 

El Check if this is community property (see
instructions)

Filed 07/05/16 Entel’ed 07/05/16 14247:29 DOC 1 PQ. 13 Of 65

 

Donotdeducisewredclaimsorexemptions.Put
meatrtom\tofanysewreddaimson$dledldea'
Credit‘orsWhoHaveClar'msSewladbmeperty.

Currentvalueofthe Currentvalueofthe
entire property? portion you own?

Donotdeductsecuredclaimsorexempliol'\s.Put
theamountofanywcuredciaimsonsdreduleD:
Credr'torsWhoHaveCial`msSecuredbyProperty.

Cun'entvalue ofthe Cunentvalue ofthe
entire property? portion you own?

4. Watercraft, aircratt, motor homes, ATVs and other recmational vehicles, other vehicies, and accessories
Examples.' Boats, trailers, motors, personal watercraft, fishing vesseis, snowmobiles, motorcer accessories

la No
mYes

4.1. Makef
Model:
Yeal”.
Other infolrnation:

 

 

 

 

if you own or have more than one, list here:

 

 

 

 

Who has an interest in the property? Check one.
n Debtor 1 only
cl Debtor 2 only

El Debtort and nebtorz only
El Alleastoneofwedebtorsand another

cl Check if this is community property (see
instructions)

Whohasaninterestintheproperty?Cneckone.

Donotdeductsecureddaimsorexemptions.Put
theamountofarryseculedclaimson$dreduleD:
Credr‘tolsWhoHaveClalmsSeculedbmeper!y.

Cun'entvalue ofthe Current value ofthe
entire property? portion you own?

 

 

4_2_ Make: Donotdeductsecureddaimsorexemptions.Put
anew 1 theamountofanysecureddaimsonscheduleD:
Model: °' °"'¥ creditorswholtave claims seandbyProperty.
Year' noebwrzmly c rrentval ortho c ntvalueofthe
. ll ue urre
.nfo . _ uDebt°HandDebt°fz°my entireproperty? portlonyouolllm?
0"'€' ' ""a"°"- El Al least one of the debtors and anomer
ucheckifthisiscmnmunityproperty(we s s
instnlctions)
5. AddthedollarvalueoftheportionyouownforallofyourentrieslromPartZ,inciudinganyentriesforpages 4000
youhave attached for Part z.writeulatnumberhere -)

Oiliciai Form 106A/B

Schedule AIB: Property

 

 

Page3

Case 16-04147-|\/||\/|7 Filed 07/05/16 Entel’ed 07/05/16 14247:29 DOC 1 PQ. 14 Of 65

Brown

 

 

Dewm1 Angela Marie Case number ami
Hr¢Ndne Wh Name Last hhme
Part 3: Describe Your Personal and Household ltems

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Do you own or have any legal or equitable interest in any of the following items? gorman ;:m:`e
Do not deduct secured claims
or exemptions

6. i~lousehold goods and fumishings

Examples: Major appliances fumiture, iinens, china, kitchenware
la No § _. o ._
lug Y%' Des°'ibe ~~~~~~~~ l Furnitnre - Residence } $ 200
7. Electrenics
Examples: Teievisions and ladios; audio, video, stereo, and digital equipment oomputers, printers, smnners; music
coilections; electronic devices including cell phones, wnmras, nwdia players, games
5 m
[U`: Yes. Deeonbe .......... s
8. CollecliMes of value
Examples' Antiques and ligurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, ooin, or baseball card ooilections; other collections, memorabiiia, coilectibies
la No
|'Ei vee. oeeoribe ........... s
9. Equipment for sports and hobbies
Examples: Sporls, photographic, exercise, and other hobby equipment bicycles, pool tables, golf ciubs, skis; canoes
and kayaks; carpentry toois; musical instruments
5 ~o
m Yes. Desclibe .......... s
10. Firearms
Examples: Pistols, rilies, shotguns, ammunition, and related equipment
5 ue
|'El Yes. oesodbe .......... 5
11. Clothes
Examples: Everyday clothes, furs, leather ooats, designer wear, shoes, accessories
lEl§ No
la Yes. Descl"lbe .......... Clothing _ Residence $ 100
12.Je1welry
Examples: Everyday jewelry, costume jewelry, engagement lings, wedding rings, heirloom jewelry, watches, gems,
goid. silver
5 m
|UYee oesonbe ........... $
13. lion-farm animals
Examples: Dogs, eats, bilds, horses
5 no
l`l;l`; Yes. Desorlbe .......... s
14.Any other personal and household items you did not already list, including any health aids you did not list
5 no
|u-:Yes. Give specific s
information. .............. l
15. Add the dollar value of all of your entnes' from Part 3, including any entnes' for pages you have attached s 300
ror Part 3. write that number here 9

 

Olicial Form 106A/B Schedule NB: Property

 

 

 

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Debtor 1 Angela M“rie Brown Case number miami
mm m rim mm

Part 4: Describe ¥our Financial Assets

 

Do you own or have any legal or equitable interest in any of the following? C\m'ent value of the
portion you own?
Do not deduct secured claims
or exemptions

16. Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

n Yes Cash: ....................... $

 

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit shares in credit unions, brokerage houses,
and other similar institutions lf you have multiple accounts with the same institution, list each.
la No

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Yes ..................... institution name:
17.1. Checking account $
172. Checking account $
17.3. Savings account $
17.4. Savings account 5
17.5. Certitimtes of deposit g
17.6. Other financial amount 5
17.7. Other tinancial account 5
17.8. Other financial account $
17.9. Other financial account s
18.Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
la- No
m Yes ................. institution or issuer name:
$
$
$
19. lion-publicly traded stock and interests in incomorated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture
la_§ No Name of entity: % of ownership:
[U:§Ves. Give specific % $
information about
them % $
% $

 

Ofiicial Form 106A/B Schedule NB: Property page 5

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Debtor 1 Aogeia Marie

Firstl\leme wallean

Brown Case number whom

l.thune

20. Govemment and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, wshiers’ checks, promissory notes, and money orders.

Non-negotiable instruments are those you

E.':No

[U'§Yes. Give specific Issuer name:

cannot transfer to someone by signing or delivering them.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

m"’;’m"“"“°°°"‘ s
$
$
21. Retirement or pension accounts
Examples: interests in lRA, ERlSA, Keogh, 401 (k), 403(b), thrift savings accounts or other pension or protit~shar`ng plans
la No
[l:`,l_ Yes. usi each
account separateiy. Type of account Institution name:
401(k) or similar plan; $
Pension pian: $
lRA~ $
Rwrement amount $
Keogh: $
Aadmonal mm $
Additicnal account $
22. Security deposits and prepayments
Your share of all unuwd deposits you have made so that you may continue service or use from a company
Examples: Agreements with iandlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
|U: No
|-E_]_.> Yes .......................... institution name or individuai:
Eiectric: s
Gas: $
Heating oil: s
Security deposit on rental unit s
Prepaid rent $
Telephone: s
weren $
Rean furnilure: s
omer. $
23.Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
m Ves .......................... issuer name and description:
$
$
$

 

Ollicial Form 106AlB

Schedule AlB: Property

page€

 

 

 

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Debtor 1 Angel“ Marie Br°wn Case number whom
First Name Mld¢le Name l.mt Name

24.lnterests in an education lRA. in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

la No
m Y°s """""""""""""""""" institution name and description Separately file the records of any interests.11 U.S.C. § 521(c);
3
$
$
25.Trusts, equitable or future interests in property (ol:her than anything listed in line 1), and rights or powers
exercisable for your benefit
la- No
ln_;.` Yes. Give specific
information about them.... s
26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: intemet domain names, websites, proceeds from royalties and licensing agreements
Ii?l ~o
m Yes. Give spedfic
information about them.... $
27. Licenses, franchises, and other general intangibles
Examples: Building pennits, exclusive iicenses, cooperative association holdings, liquor licenses, professional licenses
la No
m Yes. Give specific
information about them.... $
Moneyorproperlywedwy°u? cummvaweoruie
portion you own?
Do not deduct secured
claims or exemptions
28.Tax refunds owed to you
g No
l'Cl' ves. Give specinc information Fede,a,: $
about them, including whether
you already filed the retums Swte: $
and the tax years. .......................
Locel: $

 

 

 

29. Family support
Examples: Past due or lump sum aiimony, spousal support child support. maintenance divorce settlement property settlement

lane

 

 

 

 

 

Itl' Yes. Give specific information ..............
All¢mmc $
Mainwnance: 3
Supi>°rt $
Divorce settlement $
Property settleth $
30. Olher amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay. vacation pay. workers’ compensation,
Social Security benehts; unpaid loans you made to someone else
la; No
lu- Yes. Give specific information ...............
$

 

 

 

 

Official Form 106A/B Schedu|e NB: Property page 7

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Debtor 1 Angela Marie BroWll Case number dmi
Fim Name Mdde Name iad Name

31. lnterests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeownefs, or renter's insurance

laNo

l-u Yes' Name me insura"°e company Company name: Beneliciary: Surrender or refund value:
of each policy and list its value_

&.Myintemstinpropertythatisdueyoutmmsomeonewhohasdied

lf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
property because someone has died.

laNo

[U Yes. Give specific inrcnnaiicn ..............

 

 

 

 

33.Claimsagainstthirdparties,whetherornotyou haveliledalawsuitormadeademandforpayment
Examples: Accidents, employment dispuies, insurance claims, or rights to sue

[Cl__; Yes. Desciibe each claim ....................

 

 

 

 

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

lZNo

m Yes. Describe each claim. ....................

 

 

 

 

35.Any financial assets you did not already list

lane

lTJ[ Yes. Give specificinfomration ............ s

 

 

 

 

36. Md the dollar value ofall ofyour entriesfrom Part4, including any entries for pages you have attached
rchart-t.wrircuiatnumberhcrc -) s

 

 

 

 

P€H'f 5= DescribeAnyBusiness-Related?roperty¥ou°vmoruaveanlntemtln.Listanyl'ealestateinl’art‘l.

 

37.Do you own or have any legd orequiiable interest in any business-related property?
la Nc. ecioParts.
15 Yes.eowiine 38.

 

Currentvalueofthe
porfi°nyouown?
Donotdeductsecuredclaims
otexemptions.
38.Accounts receivableorcommissions you alreadyeamed
|Z No
I_|j Yes.ocscnbe ....... is

 

 

39. Ol’lice equipment, furnishings, and supplies

lE No
I_I:l`.: Yes. describe ....... ls

 

 

 

Ofticial Form 106AlB Schedule AIB: Property page 8

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nom 1 Angela Marie Brown case number umwa 1
Flrst Nane Md¢la Name last None

 

40.Machinery, tixhnes, equipment, supplies you use in business and tools of your trade

 

 

 

 

 

la Ne
IU Yes. Describe ....... s
41.lnvenwry
No
m YeS- Describe ....... F

 

 

42. lnterests in partnerships or joint ventures
la No

m Yes. Describe ....... Name of entity: % of ownership:

32
ul

eromer lists, mailing lists, or other compilations
No

l'E_l Yes. ne your lieu induce personally identrnable information (as cleaned in 11 u.s.c. § 101(41A))?

IE§N<»

[E[i Yes. Deseribe ........

 

 

 

 

44. business-related property you did not already list
. No
|_ET Yes. Give specific

 

information .........

 

 

 

MMMM“M

 

 

45.AddthedollarvalueofallofyourentriesfmmPart§,includinganyentriesforpagesyouhaveattached s 0
for Pen 5. write that number here 9

 

 

 

DescdbeMyFamaMCommomthisMng-Rohted¥mpedy¥ou°wnw"manlntemstlm
ltyouownorhaveaninterestinfannland,llslitinParH.

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishide property?
, No. Go lo Part 7.
|'U Yes. Go w line 47.

 

Current value of the
portion you own?
Do not deduct secured claims
or exemptions
47. Farm animals
Examples: Livestock. poultry, farm-raised fish
la No
m Yes ..........................
$

 

 

 

Oiiicial Form 106AIB Schedule NB: Property page 9

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mem 1 Aogela Marie Brown case number remy
Flrd thus willie Name Lad None

48. Crops-either growing or harvested

la No
|`Cl Yes. Give spee'mc
irlformanon. ............ $

 

 

 

49. Farrn and lishing equipment, implements, machinery, ixtures, and tools of trade
o § No

[Cl'Yes ..........................

 

 

 

 

50. Farm and fishing supplies, chemicals, and feed

la No
mYes ...........................

 

 

 

51.Any farm- and commercial fishing-related property you did not already list
` No

|U Yes. Give specific
information ............ $

 

 

 

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached s 0
rerPerls.wrlleuratnumberhere 9

 

 

 

 

Parc 7: Describe All Property You own or Have an lnterest in 'l'hat ¥ou Did Not List Above

 

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

infonnaiion. ............ $

 

 

 

 

 

 

54.Add the dollar value of all of your entries from Part 7. Write that number here 9 5 o

 

 

Part 8: List the Totals of Each Part of this Form

 

ss.PermTelelmaleeme,llnez -) s
56.Pal1 2: Total vehicles, line 5 $
57.Part 3: Total personal and household items, line 15 $
58.Part 4: Total financial assels, line 36 $
59. Part 5: Total business-related property, line 45 $
60. Part 6: Total fann- and fishing-related property, line 52 $

61. Perl 1; rml other properly net lieled, line 54 + 3 0

 

$ 4300

62.Tolal personal property. Add lines 56 through 61. .................... `Copy personal property total ') + $ 600

 

 

 

 

sa.rewlerellpreper¢yenseneduleA/B.Addliness+llnesv $ 43°°

 

 

 

Ofiicial Form 106AlB Schedule NB: Property page 10

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Fill m this mfcx'maflon to identify your case

oebwr 1 Angeh\

Fir\tName

Debtor2
(Spouse.iffiling) Firsmame uranium

 

united states Bankruptcy court rer inez sgg;[mm clearer er CALlFORNIA

case number El cheek if this is an
"““‘°""" amended ming

 

 

Oflicial Form 1060
Schedule C: The Property You Claim as Exempt nine

Be as complete and awurate as possible. if two maniad people are filing together, both are equally responsible for supplying correct information

Using the property you listed on Schedule A/B: Property (Oflicia| Form 106A/B) as your souree, list the property that you claim as exempt lf more
space is needed, fill out and attach to this page as many copies of part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

Foreach itemofpropertyyouclaimasexempt, you mustspecifytheamountoftheexemptionyouclaim. Onewayofdoingsoistostatea
specific dollar amount as exempt Altemative|y, you may claim the full fair market value of the property being exempted up to the amount
danyappllcaueswwwryhmihsonnexempdons_suchasmosebrmalmaws,rigtnswreceivecertainbenetits,andtax-emompt
retirement funds-may be unlimited in dollar amount. However, lf you claim an exemption of 100% offalr market value under a law that
limits the exemption to a pardcular dollar amount and the value of the property is detem\ined to exmd that amount, your exemption
would be limited to the applicable statutory amount

 

 

ldentil'y the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

n You are claiming state and federal nonbankruptcy exemptions 11 U.S.C. § 522(b)(3)
n You are claiming federal exemptions 11 U.S.C. § 522(b)(2)

2. For any property you list on ScheduIeA/B that you claim as exempt, fill in the information below.

Brietdescriptlonoftheproportyandlineon Currentvalueofthe Amountoftheexemptionyouclaim Speciliclawsthotalowexemptlon

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ScheduleA/B that lists this property portion you own
Copy the value from Check only one box foreaeh exemption
Schedule A/B
Bnef 2008 Toyota Corolla 703.140(b)(2);
description: 5 4000 n $
Line f a 100% of fair market value, up to
Schedule A/B; any applicable statuwry limit
Bnef Clothing .
description: $ 100 n $ MM,
Line from a 100% affair market value, up to
Schedule A/B; any applicable statutory limit
. Furniture
Bnef 103.1.411(11)(3),____'
dempden: $ 200 El s
Line wm iii 100% er fair markel value, up le
Schedule A/B; any applicable statutory limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subiect to adjustment on 4i01l19 and every 3 years after thatfor mses filed on or after the dale of adjustment)

a No

n Yes. Did you acquiretheproperty covered bythe exemption within 1,215 days beforeyoufiledlhiscase?
El Ne
Cl Ves

Oflicial Form 1060 Schedule C: The Property You Claim as Exempt page 1 of___

Case 16-04147-|\/||\/|7 Filed O7/O5/16 Entered O7/O5/16 14247:29 DOC 1 PQ. 22 Of 65

Debtor 1 Angela Marie Brown case number alumni
Fisl m mile Nane Lad N-ne

Part 2: mitich Pag€

 

Br'iefdescriptionofthepropertyandline Currentvalueofthe Amountoftheexemptionyouclaim Speciliclawsthatallowexcmption

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

onScheduleA/Bthatliststhisproperty portionyouown
Copy the value from Check only one box for each exemption
Schedule A/B

Brief
desoiption: $ n $
Line from n 100% of fair market value, up to
Schedule A/B; any applicable statutory limit
Brief
description: 3 n $
Line from Ei 100% or fair market value, up id
Schedule A/B_- ____ any applicable statutory limit
Brief
description: $ n $

- m 100% of fair market value, up to
Llne from
Schedule A/B: °_ any applicable statutory limit
Brief
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- n 100% of fair market value, up to
Line from
schedule A/B_- any applicable statutory limit
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Schedule A/B; ____ any applicable statutory limit
Brief
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Linerrpm El 100% erreir market value, up le
Schedule A/B.~ _"*'_ any applicable statutory limit
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Schedule A/B_- any applicable statutory limit
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Schedule A/B; any applicable statutory limit
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Schedule A/B; _ any applicable statutory limit
Brief
description: 3 n $
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Schedule A/B: ""“‘_ any applicable statutory limit

Oflicial Form 1060

 

Schedule C: The Property You Claim as Exempt page ___ of ___

Case 16-04147-|\/||\/|7 Filed 07/05/16 Entered 07/05/16 14247229 DOC 1 PQ. 23 Of 65

 

 

 

Fill iii this information to identify your case:
roWll
1 Angela Marie B
FwNamo MiddoNsme LaMNamo
DebtorZ
(Spouse,iffiing) F¢smcme random muscle

unw states aankmpwy court for inez SOVTHER oistri¢t of CALIFORNIA

Case number

 

¢lfknovm)

 

 

Official Form 106D

 

Schedule D: Creditors Who Have Claims Secured by Froperty

El check if this is an
amended filing

12I15

 

Beascompleteandaccutateas possible. lftilvo married peoplearetitingtogether, bothareequa|lyresponslbleforsupplyingcorrect
information. lf more space is needed, copy the Additional Page, fill it out, number the entries, and attach it tio this form. On the top of any
additional pages, writs your name and case number (if known).

1. Do any creditors have claims secured by your property?
ENo. Checkthisboxandsubmitthisfonntothewurtwithyourowerschedules.Youhavenothingelsetoreportonthisform.

|U: ves. Fill in ali of the infonnation beiow.

 

br must All secured claims

 

 

 

 

 

 

 

 

 

 

 

Oolumn A y Column 8 Column C
2. l.ist all secured claims. lf a creditor has more than one secured claim. list the creditor separately mount of dm van d wm umw
for each claim. lf more than one creditor has a particular claim, list the other creditors in Palt 2. de m ci ' gm nw mh mm
As much as possible, list the claims in alphabetical order according to the creditors name. war Mu,:_ gum nw
__2__1| Fast Auto loans Describe the propertythat secures the claim: $_1&35 $_M $ 11!13_§
crew
s Name 2008 Toyota Corolla
309 S Rancho Santa Fe er
Number street
As ofthe date youfi|e, the claim is: Checkaltthatapply.
m Contingent
Sao Marcos CA 92078 Cl unliquidated
Ci\y S'ale ZlP CDdB n Dispmed
Whoomsthedebt?€hed<one. Natureoflien.oheckallmatapply.
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El center 2 only car ioan)
g Debm,1andpemo,2°,,,y Cl swamiien(sudiastaxlien,medianic'slien)
U Atieaetoneaime<lemorsamanom 13 Judgmentlienfmmalawwit
Cl outer including a right w arisen A"“' L°*“
El check if this claim relates to a
community debt
Date debt was incurred Mar°h 2016 Last 4 digits of account number El_ __ _
-_12'2 Descrtbo the property that sources thc claim: $ $ $

 

 

 

Street

 

 

 

 

 

city state LP code

Whoo\cesthedebt?(:heckone.

El Debtorioniy

El Debwrzonly

Cl Debwriandoebwrzonly

m Atleastoneofthedebtorsandanother

Cl clieckiitl\is claim relatestoa
communitydebt
Datedebtwasincun'ed

As ofthe date you tile, the claim is: Check all that apply.
n Contingent

IJ unliquidated

EI Disputed

Natureoflien.Checkal|lhatapply.

n Anagreementyoumade(suchasmortgageorsecured
mrloan)

U swwtorylien(suchastaxlien.medianic's lien)

El .lu<lgmemlienlromaiawsuit

El omer(inciuuingarighitooirset)

Last4digitsofaccountnumber_ _ ___ _

 

 

 

Ol’liciat Form 106D

Add the dollar value d your entries in Column A on this page. Write that number here:

I*MS_-_|

 

Schedule D: Creditors Who Have Claims Secured by Property

page1d_._

 

Case 16-04147-|\/||\/|7 Filed 07/05/16 Entered 07/05/16 14247229 DOC 1 PQ. 24 Of 65

. i" f".;¢. zz*.‘m““ati@n m identify your -:.3€¢':

Angela

FirdNM\¢ Midd\BName

Debtor1

 

DebtorZ
(Sr>owe.iffding) adam

 

mm

united swiss Bankruptcy courtfurme: SCUTHER nimmer CAL]FORNIA

 

 

 

 

mower El checkifmisisan
(lfkrw\) amended filing
Ofiicia| Form 106E/F

Schedu|e EIF: Creditors Who Have Unsecured Claims mrs

 

Be as complete and accurate as possible. Use Part 1 for creditors with PR|CRITY claims and Part 2 for creditors with NONPRIOR|T¥ claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory corch on Sclledule
A/B: Property (Ollicial Form 106AIB) and on Schedule G: Executory Conlmcts and Unexpired Leases (Oflicla| Form 1066). Do not include any
creditors with partially secured claims that are listed in Schedule D: Credr'tors Who Have Claims Secured by Property. lf more space is
needed,copythePartyou need,fillitout, numbertheentriesintheboxesontheleft.AttachtheContinuation Pagetothispago.°nthetopof
any additional pages, write your name and case number (if known).

mt Al| of Your PR|°R|TY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?

@NO. GO to Part 2.

nYes

2. Listallofyourpriorityunsecuredclaims.lfacreditorhasmorethanonepriorityu
eachclaim listed,identifywhattypeofclaimitis.lfaclaimhasbothpriorityandnonpri
nonpriority amounts As much as possible, listthe claims in alphabetical orderaccordingto the creditors na

ofPart 1. lf more than one creditor holds a partiwlarclaim, list theother

unsecured claims, till outlhe Continuation Page

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

 

 

 

 

 

 

 

nsecured claim, listthe creditor separatelyioreach claim. For
orityamounts,listthatclaimhereandshowbompriorityand
me.lfyouhavemorethantwopriority
creditorsinPart3.

 

 

 

 

 

 

 

 

Unemonandoeuwrzomy

 

m Donmticsupportobligations
cl Taxesandcertainoiherdebtsyouowethegovenwnent

21
Last4digitsofaccountnumber_________ 5 5 5
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Asofthedateyoutile,theclaimis:¢hwkatmatapply. §
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1 El unliquidated z
z Whoincurrodthedebt?Checkone. d ms §
El Deuwndmy mm §
Cl oduwrzomy TypedrPRloRrrv unsecured ciaim: 1
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ElNu

_DYes

Oflicial Form 106EIF

cl Claimsfordealhorpersonalinjurywhileyouwere
intoxicated
EI omer.spedify

 

Schedule EIF: Creditors Who Have Uneecured Claims

Case 16- 04147- |\/||\/|7 |;g$dn O7/O5/16 Entered O7/O5/16 14. 47. 29 DOC 1 Pg. 25 Of 65

gm 1Allgela Marie

FntNarne MiddeName LaslNan\e

vour l»ltlolm'v unsecured claims - continuation Page

Case number miami

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Wholncurredthedebt?Checkone.

 

‘ mr listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth. Total claim Pliorlty Nonpriolld 1
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PliolityCreditor’s Name 1
When was the debt incurred? §
number sum l
As of the date you file, the claim is: Check all that appiy. ':
n Contingerlt
cily scale zlP code Cl Unliquidated
;_ C.`i Dioplncd ;
l Who incurred the debt? Check one. 1
L'.l nom 1 only Type or PRloRrrv uncecumd claim:
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Atleastone ofthe debtors and another m Claims for or Wurywh“ey°u 1
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Cl owen spcdly g
ls die claim subject lo onsol?
Ci Nc §
n yes
1 Last 4 digits of account number ___ _ __ $ $ 5
j Pnorilycredilors Name
:` When was the debt incurred?
Ae of inc date you lile, me cleim is: check all max apply
1 n Contingent §
city slalo zlP code L_.l unliquidated '
n Dispuwd
§ Who incurred the debt? Check one. i
§ n Dabwr1 only Type of PR|OR|TY unsecured claim: `;
~ E| nebwrz only n D° . l '. . §
Ci Deuwr 1 and Debtor 2 only . z
um s\ a Taxesandcertamotherdebtsyouowelhegcvemment §
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E}chcclriruiiscleimicfcracommunitydem '"‘°"'°“‘°"
cl Oiher. Speclfy §
ls llic claim subject to onoel?
cl No
n Yes §
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` Plior'ltyCredillor°s Name z
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cry sole zip code El unliquidated
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C|Allecslcnecflhedebiorsandenolner

D check ll this claim le rcr a community debt imoxiwion
Cl other. specify
le the claim subject to onse¢?
El No
n Yes
Ofl'icl`al Form 106ElF Schedule EIF: Creditols Who Have Unsecur¢d claims

Type of PR|OR|TY unsecured claim:
n Domestic support obligations

cl Taxesandcertainotherdebtsyouowelhegovemment

n Claimsfordealhorpelsonalinjulywhileyouwere

 

 

vege_°f__

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m 1 Angela Marie 'Brown
Filsl Nll\e lidde Nane Lasl Name

Casenumberurum)

 

m Ll$¢ All of your NCNPRlCRITY Un$ecufe¢l Claims

3. any cleditols have nonpriority unsecured claims against you?

n No. You have nothing to report in this parl. Submit this form to the court with your other schedules

§ §§ Yes

§ 4. Listallofyournonpriorityunsecuredclaimsinthea|phabeticalolderofthecreditorwhcholdseach clailn.lfacreditorhasmorethanone

nonprioliiy unsecured claim, list the creditor sepalately for each clai
included in Palt 1. lf more than one creditor holds a particular claim,

claim fill cut the Continuation Page of Pal‘l 2.

 

 

 

 

 

m. Foreach claim listed, identify what type of claim it is. Do not list claims alwady
lislmeothermedhorsmPad&Nyouhavemoremalweemnpdonlyunsewred

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Cl cchlorzomy
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d No a oihcr. specify Personal Loan §
n Yes
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lstheclahnsubjectwoffset?
a No
El Yes

Ofiicial Form 106E/F

Schedule EIF: Creditors Who Have Unsecured Claims

Type of NONPRIORlT¥ unsecured claim:

n Studentloans

n Obligalionsarisingoulofasepalalionagmememordivcme
thatyoudidnotreporlaspriorilyclaims

Cl cebslopensionorpmiiz-chmingpians,andomcrsmarm

a Oiher.Specily Personal Loan

 

pace_of_

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Debtor 1 Anggla Marie Brown
Firi-jhoe Hdlla Name Last Name

Case number mulm)

mont NONFR|°R|T¥ Unsecured Claims -- Continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

; After listing any entries on this page, number them beginning with 44, followed by 4.5, and so forth. Total didn §
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Nonpriorily Creditor‘s Name §
When was the debt incuned? £§MB §
4225 Oceanside Blvd
"“""’°' S"°°' Ac ortl\e date you lilc, inc claim ic: check an that epply. §
ngll_si_ds CA 92056 g
my scm zlP code El contingent ;
Cl unliquidated §
Who incurredthedebt?Cmekone. n mspqu §
d Debtor 1 only §
n Debtor 2 only Type of NONPRlORlT¥ unsecured olaim:
ClDebtomandocotorzonly n Smem§°ans §
nmbast°"e°fmdema"da"°mer n Obligaiionsarisingwtofaseparalionagreementordivoroe\hat §
. . you did not report as priority claims §
Elcl\cckifthicclaimicforacommumtydcht n mame _ of _ ’and §Mardem §
|$¢h¢¢|a`lm $"bi¢€if°°"“‘l'? a Omer.Specify Pgrsonal Loan §
d No
n Yes §
§ Last 4 digits or account number am s 510 §
Afs/M! Holding '_ _ ___ _ --_-_--;
Ncnp»ionly creditors Name z
April 2016 §
Whe the debt incurred? .
§ 1646 Hwy 160 w ste 105-swl " "'°s g
., Nunmor succl §
§ Asofthedaleyouiile,theclalmis:Checkallmatapply. ‘
§ Fon Mill sc 29708 §
city Swe zlP Code El contingent §
; E.l unliquidated j
Who incurred the debt? Check one. n Disputed
fl Debtor 1 only §
[J neciorz only Type or NoNPRloRrrv unsecured claim: .;
Ell:)cl>tonandoemzonly 0 S§udemkms §
umm°"e°fmedma"damm n Obligationsarisingoutofaseparalionagmementordivomethat §
a Check if this claim is for a community debt n you md not lawn as many d_aims , §
Debis lo pension or profit-shang plans, and other similar debts §
§ lstheclaimsubhctwoflset? a ome,_Sped¢y pm!ma!lgan §
a No '
§ n ¥es z
§M_§ sm s 1000
§ Baok Of America LM 4 digits of account number ____ _ _
, l'bnpriorily Crec£br‘s Name
z When was the debt lncurred? _J_a_n_Z_Q_l_§_
~ P.o. Box 15298
l Number street

Ofiicial Form 106E/F

Wilmingt_go SD 19850
city stale zlP code
Who incurred the debt? Check one.

Uocbiortonly

Eloevlorzonly
Clnebicr1andoemorzonly
ElAtlcasloneorlhedebtorsandanoum

0 cmckiftliiselaimieforacommunitydcht
lsthe claim subjectto offset?

tim
uYes

Schedule EIF: Creditors Who Have Unsecured Claims

As ofthe date you lile, the claim is: Check all that apply.
n Coniingent

Cl unliquidated

Cl Dispuled

Type of NONPR|OR|TY unsecured claim:

El Student loans

El obligationsarisingoulofawpatauon' agreementordivoroe‘ mal
you did not report as prlonly` ' claims

El Debtcto pensionorpiotit»sharing plane and mcmanus

a other, specify Baok Charges Overdraft

 

 

Case 16-01`;11474\/||\/|7 Filed 07/05/16 Entered 07/05/16 14. 47. 29 DOC 1 PQ. 28 Of 65

ncbtort A”g°l * M° "i°
Fntthl\e littlewa Laclrbne
Part 4: Add theAmounts for Each'l'ype of|.lnsecured claim

 

Case number (imotm)

 

1 6. Total the amounts ot certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
` Add the amounts for each type of unsecured claim.

‘Totalclaims
fromParH

Totalclaims
fromPartZ

Oflicia| Form 106ElF

Sa. Domestic support obligations

6h. Taxes and certain other debts you owe the
governmem

Gc. Claims for death or personal injury while you were
intoxicated

6d. 0ther. Add all other priority unsecured claims.
Write that amount here.

6e. Total. Add lines 63 through 6d.

6{. Shldent loans

69. Obligations arising out of a separation agreement
or divorce that you did not report as priority
claims

6h. Debts to pension or profit-sharing plans, and other
similar debts

6i. Other. Add all other nonpriority unsecured claims,
Write that amount here.

6]. Total. Add lines 6f through 6i.

6h.

6i.

Schedu|e EIF: Creditors Wh'o’l-lave Unsecured Claims

 

 

 

 

 

 

 

 

 

Total claim
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Total claim
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page_°f__

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Case 16-O4147-l\/|l\/|7 Filed O7/O5/16 Entel’ed O7/O5/16 14:47:29 DOC 1 Pg. 29 Of 65
Debtor 1 Ang§la erie Brown Case number (rm)
mm wilson laetNlne
Your NC||FRIQRlT¥ Unsecured Claims - Contlnuatlon Fage
1 Atter listing any entries on this page, number them beginning with 4.4, followed by 45, and so forth. Totl ch
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: Nonpricnlycieditor Name §
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'j Richmond SD 23238 §
city Sww zchode El contingent ;
5 El unliquidated z
Who incurred the debt? Check one. n D§sputed ,j
d commonly §
l:l Debtor 2 only Type of NONPR|ORITY unsecured claim: §
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umwme°m'edebma"dam n Obligationsarisingoutofaseparationagreementordivorcethat §
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NonpriorityCreditor'sNarne
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§ a Yes
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arc l
P.o. Box 1529s wh°" m “'° d°b" §
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Wilmington SD 19850 §
guy State ZlPCode a Comingent §
El unliquidated »
Who incurred the debt? Check one. 0 Disputed §
6 benton only
l:l Deme only Type of NONPR|OR|TY unsecured claim: ‘

Oflicial Form 106ElF

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n Atleastoneofthedebtorsandanctmr

El checkirutiscleimieroracommunitydeht
lstheclaimsubjecttoofl%et?

flue

l:l Yes

El smdemleene

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youd'ldnotreportasprioritydaims

Cl Debistopeneicnorprolit-enaringplans,andemereimiierdeee

odier_speciry Credit Card

Schedule EIF: Creditors Who Have Unsecumd Claims

Case 16-04147-|\/||\/|7 Filed 07/05/16 Entered 07/05/16 14247229 DOC 1 PQ. 30 Of 65

Debrm 1 Anggla Marie Brown Case number imml
Fk¢ \llr\e kidde Name last Nzne

 

 

Your NCNPRI°R|T¥ Unsecured Claims - Contlnuatlon Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Al\er listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forlh. W.r:ldl
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z fl No
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Oflicia| Form 106ElF Schedule EIF: Creditors Who Have Unsecured Claims Page 7_ of _9__

Case 16-04147-|\/||\/|7 Filed 07/05/16 Entered 07/05/16 14247229 DOC 1 PQ. 31 OT 65

 

Debwll Anggla Marie Browo
Hmi kane m Name

Your No||PRl°RITY Unsecured Claims - continuation Page

 

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Case number (lmonnl l
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M”t Last4dlgitsofaccountnumbel'_________ $ ,
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§ When was the debt incurred? bn 2016 :
z P.o. Box 260210 1
§ "““'°°' S‘“”° As of me dow you nle, lhe claim is: check all met apply §
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gay scale zlP code Cl Contmgen' t §
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1 Mlo incurred the debt? Check one. g Dispuwd §
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€ El oemorz only Type of NoNPRloRrrY unsecured claim;
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y New York NY 10004
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§ Who incurred the debt? Check one. n mspuwd 1
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Oflicial Form 106ElF

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Schedule ElF: Creditors Who Have Unsecured Claims

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Case 16- 04147- |\/||\/|7 FBi|ed 07/05/16 Entel’ed 07/05/16 14. 47. 29 DOC 1 PQ. 32 Of 65

Debtor 1 Anggla Marie

Fil$'m Mm BLadwn Name

Casenumber lum-nl

Your NC||PRlCRIT¥ Unsecured Claims - continuation Page

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

§ After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth. Tg|l| d* §
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Number Slxeet »'
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Who incurnd the debt? Check one. n Disputed §
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8139 1516 §
§ Z n Last4digitsofaccountnumber___ _ $ §
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Offlcial Form 106ElF

Schedule ElF: Creditors Who Have Unsecured Claims

Type of NONPRIOR|TY unsecured claim:

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page’_°f_’_

Case 16-04147-|\/||\/|7 Filed 07/05/16 Entel’ed 07/05/16 14247229 DOC 1 PQ. 33 Of 65

Fill m this information to identify your case;

Debtor Angela
First Nmne

DebtorZ
(Spousellliing) Flnlm¢lno mm mdu-ne

united slates eankruplcy court for me;SOUTHER)ielncl of CALIFORNIA

 

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amended filing

 

 

 

Ofl'lcial Form 1 066
Schedule G: Executory Contracts and Unexpired Leases lzns
Be as complete and accurate as possible. lf two married people are tillng together, both are equally responsible for supplying correct

infonnatlon. lt‘ more space is needed, copy the additional page, till lt out, number the entries, and attach it to this page. On the top et any
additional pages, write your name and case number (if known).

 

 

t. Doyou haveanyexecutorycontractsorunexpired leases?
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IU_tes. Fill in allorlheinrolmallon below even lime oonllacls orleaeesarelleied on smeduleA/& Propeny(ofrielal Form loeA/B).

2. Listeeparatelyeach person orcompanywith whomyou havethecontractorleaee. Thenstatewhateach centractor|ease isfor(for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contrads and
unexpired leases.

Ferson or company with whom you have the contract or lease State what the contract er lease is for

1241

 

 

 

Cily Staie ZlP Code

 

 

 

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Number Stl’eet

 

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Number Street

 

C,"Y SW°_KZ'PC?"° ,

 

 

 

 

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Official Form 1066 Schedule G: Executory Contracts and Unexpired Leases page 1 of___

Case 16-04147-|\/||\/|7 Filed O7/O5/16 Entel’ed O7/O5/16 14247:29 DOC 1 PQ. 34 Of 65

Debtor 1 Qgela Marie

Fi|d Ntlll

Brown Case number whom

LastName

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Personorcompanywithwhomyouhavetheoontractorlease

 

 

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Oflicia| Form 1066

Schedule G: Executory Contracts and Unexpired Leases

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Page__°f____

Case 16-04147-|\/||\/|7 Filed O7/O5/16 Entel’ed O7/O5/16 14247:29 DOC 1 PQ. 35 Of 65

Fill iii this information to identify your case

oemori Angela Marle
FN Name m Name

DebwrZ
(Spouse,ifliling) Filstnelne MloaoNorm Lasmame

 

united states Bankmpwy coollior inlSOUTIIER casino or CALIF°RNIA

 

Case number
(lf known)

 

Cl check ii wis le an
amended lillng

 

Ofl'lcia| Form 106H
Schedule H: Your Codebtors lzns

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. lf two married people
are filing together, both are equally responsible for supplying correct information. lf more space is needed, copy the Additional Page, till it out,
and number the entries in the boxes on the lefl. Attach the Additional Page to this page. On the top of any Mditional Pages, write your name and
case number (if known). Answer every question.

 

§ t. Do you have any codebtors? (lf you are filing a joint case, do not list either spouse as a codebtor.)
§ No
§ cl ¥es

5 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
§ Arizona, Califomia, ldaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisoonsin.)

Cl No. Go lo line 3. §
n ¥es. Did your spouse. fenner spouse. or legal equivalent live with you at the time?

l Cl No

§ a Yes. ln which community slate or territory did you live? . Fill in the name and current address of that person,

 

§ Nameoiyourspouse,fom\erspouse,orlega|equiva|ent

 

Numberstreet

 

cap slate zchede

; 3. lnColumn 1,list allofyourcodebtors.Donot include yourspouseasacodebtor ifyourspouseistiling with you.l.istlheperson

§ showninlineZagainasambwronlyifthatpersonisaguarantororcosigner.Makesureyouhavelistedthecreditoron
ScheduleD(Ofllcial Form 1060), ScheduIeE/F(Oflicial Fonn 106ElF), or Schedule G (Oificial Form 1066). Use Schedule D,
ScheduieE/F, orschedulthofilloutColumn 2.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Column1.'Yourcodebtor Column2:Thecreditortowhomyouowethedebt
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m S“’°e‘ n Schedule G, line
CW . _ _ _ me _ ., DPC°‘*€ __ , __ __ , _ __ _ _.§
3.3 §
n Schedule D, line §
Name ___
§ [] Schedule EIF, line____
§ "“'""°' S"°°‘ E] schedule G,line___
§

Ol’licial Form 106H Schedule H: Your Codebtors page t of___

Case 16-04147-|\/||\/|7 Filed O7/O5/16 Entered O7/O5/16 14247229 DOC 1 PQ. 36 Oi 65

 

wm 1 Angela Maric Bl'oWll
Flrst Name lillie Nsna l.ad Name

- Mditionall’agetol.istuorecodebto¢s

Case nunle (lThM)

 

Column 1:Yourcodebtol'

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Column2:Thecrledltor` towhomyouowethedeht

Check all schedules lhal apply:

El schedule D, line

 

El schedule ElF, line

 

El schedule G, line

 

 

U Schedule D, line
C\ Schedule ElF, line ___

 

n Schedule G, line

 

zchcde__

L`.l schedule D, line

 

n Schedule ElF, line

 

El schedule G, line ___

 

Cl schedule D, line __

 

D schedule ElF,line___

 

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n Sdledule G, line

 

El schedule D, line

 

Cl Schedule ElF, line ___

 

El schedule G, line ___

 

_Stale

El schedule D, line __

 

L_.l Schedule ElF, line

 

0 Schedule G, line

 

 

El schedule o. line__
Cl schedule E/F, line

 

Siree{

n Schedule G, line ______

 

Offlcial Form 106H

Schedule H: Your Codebtors

page__of.___

Case 16-04147-|\/||\/|7 Filed O7/O5/16 Entered O7/O5/16 14247:29 DOC 1 PQ. 37 Oi 65

Fill in this lniormation to identify your case;

Angela

FirstName MiddleNane l.astthm¢l

Debtorl

 

Debfol’Z
(Spouse, ifiilirlg) Firsmlne MiddloNsme Lasmame

 

uniled sales 3aan conn rcr lhe: SoUTHER Dielncl er CALIF°RNIA

Case number \ Check if this iSI
(if known)
n An amended liling
L_.l A supplement showing postpetition chapter 13
income as of the following date:

Officia| Form 106| iiWoT/w_w_'

Schedule l: Your income wis

Be as complete and accurate as possible. ll two married people are ming together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct informalion. if you are married and not filing joindy, and your spouse is living with you, include inforrnawn about your spouse.
if you are separated and your spouse is not tiling with you, do not include information about your spouse. lt more space is needed. attach a
separate sheet to this foml. On the top of any additional pages, write your name and case number (if known). Answer every question.

 

 

 

me mm

'1.F‘lllinyour~em yment
l M°n_ ph Debtor1 DebtorZornon-tilingspouu

lfyouhavemorethan onejob,

attach a separate with _,
information about mcneil Emp'°ym°m status § Employed n Employed

employers g Not employed n Not employed

include part-time, seasonal, or
self-employed work.

Occupation may include student
or homemaker, if it applies.

Occupation

 

Employer's name

 

Employer's address

 

NumberSlreet Number Street

 

 

 

City Slate ZlPCode Ciiy Slate ZlPCode

l-low long employed there?

Part 2: GivobetailsAboutIonthlylncome

 

Estimatemonthly incomeasofthedateyou tilethis form. lfyou havenolhingto reportforanyline,wn'te $Oin thespace. lncludeyournon-flling
spouse unless you are separated

if you or your non-tiling spouse have more than one employer, combine the information for all employers for that person on the lines
below. lf you need more space, attach a separate sheet to this form.

 

 

For Mbtor 1 For Debtor 2 or
non-filing spouse
1 2. List monthly gross wages, salary, and commissions (before all payroll
~ deductions). if not paid monthly, calculate what the monthly wage would be. 2. $ o s
_ 3. Eslimaleandliclmenmlyeverlimepay. 3. +50 + s
4. Calculate gross income. Add line 2 + line 3. 4. $ 0 $

 

 

 

 

 

Oflicial Form 106| Schedule l: Your income page 1

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Debtor 1 Angela Mal'ie Bl'owll Case nurrber (lrlam)
Fiat ihne Md¢le Name Lmt Nmno
For Debtor 1 For Debtor 2 or
.mn_-firmssllmss_
copy line 4 here 9 4. $ 0 $
§ 5. Liel all payroll deductions
Sa. Tax, ltedicare, and Social Security deductions 5a. $ 0 $
5b. Mandatory contributions for retirement plans 5b. $ 0 $
5c. Voluntary contributions for retirement plans 5c. $ 0 $
5d. Required repayments of retirement fund loans 5d. $ 0 $
5e. insurance 5e. $0 $
51. Domestic support obligations 5f. $ 0 $
sg. union dues 59. $ 0 $
5h_ Other deductions. Specify: 5h_ + $ 0 + $
6.Addthepayrolldeductions.Addiines$a+5b+5c+5d+5e+5f+59+5h. 6. 30 $
l 7. Calculatetotelmonthiytake-home pay.SubtlactlineSfromline4. 7. $0 $
;8. Listailotherincomereguiarlyreceived:
1 Ba. Net income from rental property and from operating a business,
protession, or farm
Atwch a statement for each property and business showing gross
receipls, ordinary and necessary business expenses, and the total $ o s
monthly net income. Ba.
Bb. interest and dividends 8b. $ 0 $
8c. Famly support payments that you, a non-filing spouse, or a dependent
mgularly receive
include alimony, spousal support, child suppolt, maintenance, divorce $ o s
settlement and property settlement 8c.
8d. Unemployment compensation 8d. $ 1336 $
8e. Social Security 86- $ 0 $
8f. Other government assistance that you regularly receive
include cash assistance and the value (if known) of any non-cash assistance
that you receive. such as food stamps (beneiits under the Supplemental
Nutrition Assistance Program) or housing subsidies
specify: af. $ 0 $
8g. Pension or retirement income Sg. $ 0 5
Bh. Other monthly income. Specify: U“empl°yme“t Bh. + $ 0 + $
§9.Addallolllerincome.Addlinesaa+ab+ae+ad+ae+sr+ag+ah. 9. $1336 $
zto.Calculatemonthlyincome.Addline7+line9. 1336 +
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $_----- $ jig-__
11. State all other regular contributions to the expenses that you list in Schedule J.
include contributions from an unmarried partner, members ofyour household, your dependents your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specillr. 1 1- + $ 0
12 Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
write lhal amount en the summary er Your Assels and uabililies and cenain slalislicel lnfennalien, ir il applies 12. 1336
Combined
n monthly income
3 13.Do youexpectanincreaseordecreasewithintheyearafteryoufilethisfonn?
|_E No. §
m Ves. Explain: l
Ofticial Form 106| Schedule l: Your income m §

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Fill in this information to identify your case

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°°°‘°" F-,,.g...,., _ check innis is:

Demor 2 _
(speuee, ifrlllng) mm mm mm D An amended fillng

n A supplement showing postpetition chapwr 13
expenses as of the following date'.

 

united states Bankruptcy conn for me: SOUTHER name el CAL]FORNIA

easeme m omwi
(lfkn°wn) l

 

 

 

Offlcia| Form 106J

Schedule J: Your Expenses ms
Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct
information. if more space is needed, amch another sheet w this form. On the top of any additional pages, write your name and case number
(lf known). A.nswer every question.

P a rt 1 : Deserlbo Your Household

1. lsthis ajoint case?

 

`, ,,`;Nn. co w line 2.
p`§Yes. Doee DebtorZ live in a wparate household?

  

y Yes. Debtor 2 must his Ofiiciai Form 106J-2, Expenses for Separate Household of Debtor 2.
z Do you have dependents? |'U": No

 

 

 

 

 

 

 

Dependent's relationship to Depondent’s
nonrenewawa and |p'zvee. Filleutu»lsinrenna\ienfor rhva wwbwrz age
Debtor 2. ` ' each dependent ..........................

Do not state the dependents Son 9 mo
nall`ie$.
3. Do your expenses include §
expenses of people other than li N°
yourself and your dependents? [U,- Yes

Part 2: Estlmate Your°ngolng lonthly Expensos

Estimateyourexpensesasofyourbankruptcylilingdateunlessyouareusingthisfonnasasupplementinachmrl$caseto report
expenses as of a date after tile bankruptcy is iiied. lfthis is a supplemenwl Schedule J, check the box at the top of the form and fill in the
applicable date.

include expenses paid for with non-cash government assistance if you know the value of

 

 

such assistance and have included it on Schedule I: Your Income (Otlicial Form 106|.) Y°‘" am
4. The rental or home ownership expenses for your residence. include first mortgage payments and 1454

any rent for the ground or lot. 4. s

if not included irl line 4:

4a. Real estate taxes 4a. s 0

4b. Property, homeovlmer‘s, or renter's insurance 4b. $ o

4c l-iome maintenance, repair, and upkeep expenses 4c. $ 0

4d. Homeowner’s association or condominium dues 4d. $ o

Gliciai Form 106J Schedule J: Your Expenses page 1

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Debtor 1 Angela Marie Brown
First llano lidde Name m None

5. Additional mortgage payments for your residence, such as home equity loans
6. Utilities:

6a Electricity, heat, natural gas

6h. Water, sewer, garbage collection

6c Telephone, cell phone, lntemet, satellite, and cable services

6d. Other. Specify:

10.
11.

12.

13.

15.

16.

17.

18.

19.

thciaiFoml106J

 

. Food and housekeeping supplies

Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Fersonal care products and services
Medical and dental expenses

Transporwtion. include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books
Charitable contributions and religious donations

lnsurance.
Do not include insurance deducted from your pay or included in lines 4 or 20.

tsa. Life insurance

ish. Heallh insurance

lsc. Vehide insurance

lw. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Spediyr

 

installment or base payments:
17a. Car payments forVehide 1
17b. Car payments for Vehicle 2
17c Other. Specify:
ti'd. Other. Specify:

Case number ammar

pl

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10.
11.

12.

14.

153.
15b.
156.
15d.

16.

17a.
17b.
17c.

17d.

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Yourlncome (Oticial Form 106|).

Otherpaymentsyou maketosupportotherswhodonotlivewith you.
Spedfyr

18.

1&

other real property expenses not included in lines 4 or 5 of this form or on Schedule l: Your income.

291 MO\'!QGQ€S 0" 01th Property

2Cb_ Reai estate taxes

20¢:. Property, homeowner’s, or renter’s insurance
20¢ Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Schedule J: Your Expenses

¥our expenses

 

 

 

59
50

$0

 

pagel

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Deb\)r 1 Angeh Mil'i¢ B\'°Wn Case number rim

Fil¢m mm mm

21. other. Speci'ly:

 

22 calculate your monthly expenses.
228. Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Ofiicial Form 106J-2

22c. Add line 22a and 22b. The result is your monthly expenses.

23. Calculate your monthly net income.
233. Copy line 12 (your combined monthly income) from Schedule l.

23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income.

24. Do you expect an increase or decrease in your expenses within the year after you tile this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modiication to the terms of your mortgage?

EN°.

EY€S- § Explain here'

Official Form 106J Schedule J: Your Expenses

21.

23a.

23b.

23c.

+$0

 

 

s 2657

 

 

 

 

 

 

 

 

 

mas

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B 2018 (Form 201B) (12/09)

UNITED STATES BANKRUPTCY COURT

SOU'I'HERN District of CALIFORNIA

In re Bmwn’ Angela Case No.
Debtor

 

Chapter 7

CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
UNDER § 342(b) ()F THE BANKRUPTCY CODE

Certification of [Non-Attorney] Bankruptcy Petition Preparer
I, the [non-attorney] bankruptcy petition preparer signing die debtor’s petition, hereby certify that l delivered to the debtor the
attached notice, as required by § 342(b) of the Bankruptcy Code.

 

 

Printcd name and title, if any, of Bankruptcy Pctition Preparer Social Security number (Ifthc bmlmxptcy petition
Addrcss: preparer is not an individual, state the Social Secun`ty
number of the oflicer, principal, responsible person, or

partner of the bankruptcy petition preparer.) (Required
X by 11 U.S.C. § 110.)

 

Signature of Bankruptcy Petition Preparcr or officer,
principal, responsible person, or partner whose Social
Sccurity number is provided above.

Certilication of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
Code

 

 

 

 

Ang§|a Brou)n x Q>mmm 07/05[£@\!2
Printcd N (s) of Debtor(s) Signature of Debtor Date
Case No. (if known) X

Signature of loint Debtor (if any) Datc

 

Instructions: Awn%opy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of thc Bankruptcy Code.

Usc this form to certify that the debtor has received the notice required by ll U.S.C. § 342(b) only if the certification has
NOT been made on the Voluntary Petition, Oflicial Form Bl. Exhibit B on page 2 of Form Bl contains a certification by the
debtor’s attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and banlnuptcy
petition preparch on page 3 of Form Bl also include this certification

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FiH m this information to identity your case

Debwr 1 A.l\gela
Fisl Name Midde Name Lae\ Nino

Debt0r2
(Spouse,iitillng) thname nunn-me mm

 

umwa ames Bankruptcy com for u\e; SOUTHER Dis¢ricz of CALIFORNIA

 

 

 

 

?¢?”m""§“”°'
El check runs is an
amended filing
Ofticia| Form 106Dec
Declaration About an lndividual Debtor’s Schedules we

 

if two married people are Eling together, both are equally responsible for supplying correct information.

¥ou must tile this form whenever you file bankruptcy schedules or amended schedules Making a false statement concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in time up to $250.000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3511.

-»--

Dld you pay or agree to pay someone who is NO'f an attorney to help you fill out bankruptcy fonns?

No
nYes. Nameofperson .AttachBanIiruptcyPeniionPrepam/s~otice,Doclamtion,and
Signature (Oflicia| Form 119).

Underpenaltyofpe¢jury,ldeclarethatlhavereadthesununaryandschedulestiledwiththisdeclamtionand
il\attheyaretrueandconeet.

X minima X

 

 

Signatune of Debtor1 Signature of Debtor 2
Daceo’i 05 ZO\G bare
MMl DD l YYYY MMl DDI VYYV

 

Oflicial Form 106Dec Declaration About an |ndlvidual Debtor's Schedules

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Fill ii'j this ::‘.tr;r'i:i.;itioi~: tc identify your case;

Angela

Flsthne

Debtor 1

 

DebtorZ
(Spouse,ltlilng) Flrsmmie wl¢hNome munoz

 

united swiss Bankruptcy cou¢rior uie: SOUTHER olsiri¢ or CALIFORN!A

C mber
nmi El check iiihis is an

amended filing

 

 

 

Offlcia| Form 107
Statement of Financial Affairs for lndividuals Filing for Bankruptcy omc

Be as complete and accurate as possible li two married people are iiling together, both are equally responsible for supplying correct
lnformation. ll‘ more space is neeM, attach a separate sheet to this fonn. 0n the top ofany additional pages, write your name and case
number (if known). Answer every question.

mfive Details About Your Mar'ital Status and Where You Lived Befol'e

 

1. What is your current marital status?

E`iliranisd
luiiioi married

2. Durlng the last 3 years, have you lived anywhere other than where you live now?

lEl_No

|U Yes. Lisi all of mo plaoes you lived in me last 3 years. Do nor include where you live now.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor1: DatesDebtoH Debtorz: DatasbebtorZ
lived there Eved there
Cl same as osbior 1 CI same as nom 1
2349 Cerro Sereno F,.om 1995 From
Number Street Number Stxeet
T° 2014 T°
El Cajon 92019
city Slaie zlP code city Swre zlP code
Cl same as nom 1 U same as oomor 1
From Fnom
Number Street Number Street
To To
city state ZlP Code city Swte ZlP code

3. Withinthelastsyears,didyoueverlivewithaspomabgalequwdemmaconununhypropedyshtemterrhoq?(€mmmdypmpwty
states and teniton`es include Arlzona, Califomia, ldaho, Louisiana, Nevada, New Mexieo, Puerto Rieo, Texas, Washington, and Wisconsin.)

lupo

|'U ¥es. Make sure you iill out Schedule H: Your Codebtors gomdal Form 106H).

Explainthe$ourcesonourlnoome

 

Oliicial Form 107 Statement of Flnancial Affairs for lndividuals Filing for Bankruptcy page 1

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penny 1 Algell M£l'i¢ Bl’oWn Case number (Ilmm

Hrstlhme \IddeNmie Lastr|lna

 

4. Didyouhaveanyincomefromemploymentorfromopemtingabusinessduringthisyearorthetwopreviouscelendzyoars?
Fill in the total amount of income you received from alljobs and all businesses,including part-time activities
lfyouaretilingajointcase and youhaveincomethatyou receive together, listitonlyonce underDebtor1.

lam

[E ves. Fill in me details

 
 

 

$ources of income Grose income
CheckaHtiiatapply. Checka|lthataoply. (beiorededuclionsand
exclusions)
- M W admissions m W commissions
From January 1 of current year until ages' , ' ag°s' , g
the date you filed for bankmptcy: bmuses’ ups m’ ms s
n Operatinga business a Opetalinga business
Wages. commissions la Wages, commissions
For last calendar year'. bonuses' tips s 35739 bonuses' ups s n
(January 1 to De°embe" 31, v::___vm_!s___) n Operating a business l:l Operating a business
_ a Wages, commissions, n Wages. commissions,
Formecelendaryearbeforethat. bonuses’tips $ mn bonusesjps s o
(Ja“ua"y 1 w De°embef 31, Y:;_B__) n Operating a business ""°_'__"'_ n Operating a business

5. Didyou receiveanyotherlncome during thisyearorthe two previouscalendarwars?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest dividends; money collected from lawsuits; royalties; and
gambling and lotteiy winnings. if you are liling a joint case and you have income that you received together, list it only once under Debtor 1.

hist each source and the gross income from each source separately. Do not include income that you listed in line 4.

HNo

P'§Yes. Fill in me details.

 

Sourcesofincome Grosslncometrom Sourcesofincome Grosslncome¢rom

 

 

 

 

 

 

 

 

 

 

 

 

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exclusions) M)
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5 $
For last calendaryear: 5 ° $ 0
(January1toDecember31, ) 5 $
YWY
5 5
Forthecalendaryearbeforethat: $ 0 $ 9
(January1 tioDecember31, l $ $
ww _________
$ $

 

Oflicial Form 107 Statement of Financia| Affairs for lndividua|s Filing for Bankruptcy page 2

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Debtor 1 Angela Marie Brown Case number animal
F`l\i m m Name Last m

 

 

List Certain Paymenis You Made Bolore ¥ou Filed for Bankruptcy

 

6. Arie either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
lEl_ No. Neither Debtor 1 nor Debtor 2 has priman`ly consumer debts. Consumer debts are defined in 11 U.S.C. § 101 (8) as
“incurred by an individual primarily for a personal, family, or household purpose."
During the 90 days before you liled for bankruptcy, did you pay any creditor a total of $6,425* or more?

n No. Go to line 7.

n Yes. List beloweach creditortovvhom you paid a total 0f$6.425’ ormore in one or more paymentsand the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankmptcy case.

’ Subject to adjustment on 4lO1l19 and every 3 years alter that for cases filed on or alter the date of adjustment

g Yes. Debtor 1 or Debtor 2 or both have priman'ly consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

la No. Go to line 7.

[_D: ¥es.Listbeloweachcreditiortowhcmyoupaidatotalof$SOOormoreandthetota|amountyoupaidthat
mditor. Do not include payments for domestic support obligations, such as child support and
alimony. Nso, do not include payments to an attorney for this bankruptcy case.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Datcsof Totatamountpaid Amountyoustillovle Waettispawnelitfor...
payment
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credm'sname umw
Clcar
Number sm Elcreditwd
DLoanrepayment
DSuppliersorvendors
city ama zchode mm
5 s undermine
creditorst
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m Sm Clcmdiioeid
DLMnrepayment
usuppliersorvendors
city sale zchode am
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Elcar
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ClLoanrepayment
Usuppliersorvondois
city stein zchode am

 

Otlicial Form 107 Statemerrt of Financial Affairs for individuals Filing for Bankruptcy v page 3

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Debtor 1 gell M¢rie Brown Case number (rlmwnl
First thus little Name Lmt None

 

7. Wlthin1warbeforeyoutiledforbankruptcy,didyoumakeapaymentonadebtyouovvedanyonewhovvasaninslihr?
Insiders include your relatives; anygerlera| partners; relatives ofanygeneral partners; partnerships ofwhich you areageneral partner.
corporationsofwhichyouareanofticer.dilector, personin control,orowneronO%ormoreottheirvoting seculities;andanymanaging
agent, including oneforabusinessyouoperateasasole proprietor. 11 U.S.C.§ 101. lnclude paymentsfordomesticsupportobligations,
suchaschild supportandalimony.

[@ie

lai Yes. List all payments to an insider.

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payment paid

$ $
lnsidei"sName
Nun‘iier met
Ciw State ZlPCode

3 3
unidenst
Number Street
Ci¢tt Steta ZlPCode

8. Wittilntyearbeforeyoutiledforbankruptcy,didyoumakeanypaymentsorbansferanypropertyonaccoumofadebtmbeneflted
anirisider?
include paymentsondebtsguaranteedorcosigned by aninsider.

llNo

L_.l ¥es. List all payments that beneiited an insider.

 

 

 

 

 

 

 

 

 

 

Datiesof Totalamount Amourrtyoust'm Reaorlforthispayment
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mueller Street
City Siate ZlFCooe

Oflicial Folm 107 Statoment of Financial Affairs for lndividuals Filing for Bankruptcy page §

Case 16-O4147-|\/||\/|7 Filed O7/O5/16 Entered O7/O5/16 14247:29 DOC 1 PQ. 48 Of 65

nw 1 Angela Morie Browo case number miami
Flnt Mlie w time Lad Nul\e

ldentify Legal Actions, Repossecsions, and Foreclosures

9. Wlthin 1 year before you filed for bankruptcy, were you a party in any lawsuit court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody moditiceiions,

 

 

 

 

 

 

 

 

andcontractdisputes.
lite
lEl`~ Yes. Fill in me details
Natureofthecase Courtoragency Stah»ofthecaee
emma v imm n Pending
n Onappeal
‘Nunher street n Concluded
Casenumbm
city slate zchoda
casetilla___________~ mm 13 Panding
n Onacoeal
timber street uconcluded
Casenumber
pay state zchode

10. Wilhin 1 year before you liled for bankruptcy, was any of your property repossessed, foreclosed, gamished, atlached, seized, or levied?
Check all that apply and till in the details below.

la No. cowlineii_
la Yes. Fill in the infonnation below.

 

 

 

 

 

 

 

 

 

Describetheproperty Date Vahreoftheproperty
s
Creditcr’sName
Number Street Explainwhathappened
n Propertywasrepossessed.
n Propertywasforec|osed.
El Propertywasgamished.
city stare zlr>code n Propertywas attached,seized,orlevied.
Describetheploperty Date Valueofthepropert;
$
Cro@i’sl‘dame
Number Stiad
Explalnwhathappened
a Fropertywasrepossewd.
n Propertywasforeclosed.
m m z‘PC°dS n Propertywasgamished

 

a Property was attached seized, or levied.

Olticial Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5

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Debtor 1 Allg¢la Mal'ie Bl'owll Case number (llmovm)
Fisl Namn linda Name La¢l Name

11.Within90 days beforeyouliledforbankruptcy, did any creditor, including a bankorl'inaneial institution,setoffany amounlsfromyo\l
accountsorrefusetomakeapaymentbecauseyouowedadebt?

El Yes. Fitt in the detaits.

 

 

 

 

 

Descrlbe the action the credhorwolt hale action Amount
m token
CWS'Name
5
Number Slreel
Cify state ziP code Last 4 digits of account number. XXXX-_ ___ _ _____

12,Within1 yearbeforeyouliledforbankruptcy,was anyofyourpropertyinthepossessionofanassigneeformebenelito¢
ereditors, a court-appointed receiver, a custodian, or another oflicia|?

n ¥es

Part 5: I.lstcortain Glf\sandcontrib\rtions

 

13.Within2yearsbeforeyouliledforbankruptcy,didyougiveanygif\swithatotalvalmofmorethan$600perperson?

@No

El ves. Fttt in the detens foreech gift

 

 

 

 

 

 

 

 

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Ol§cial Form 107 Slalement of Finaneial Affairs for lndividuals Filing for Bankruptcy page 6

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Debwr 1 Angela Marie Bl'oWn Case number (lrknown)
Flrs£ m m Nune Lsst Nane

14.Wit.hin2yearsbeforeyouliledforbankruptcy,didyougiveanygiflsorcontributionswithatotalvalueofmorethan$$°°toanycharit{t’

iii ~o
E] Yes. Ftit in the details for each gin or contribution

 

Glftsoroomributionstocharidee Desenbewhatyoucomribtmd Davyou Value
duttotalmorethan$m contributed

$
Cherity’sName

5

 

 

Ntxnner Smeet

 

Part 6: ListcerhinLosses

 

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft |ire, od\er
disaster, or gambling?

|TNo

|UTYes.Fitt inthedetaits.
Describethepropertyyoulostand Deecdheanyinsuranceceveragelortheloec Dateofyour Vatueofpropor\y
lott

lndudetheamountthattnsurancehaspatd.Ltstpendtngtnsurance
daimsonline33ofSchedtdeA/B:Pmperty.

Part 7: Listcerhinl*aymenbor'l'rarmrs

 

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any prowrty to anyone
you consulted about seeking bankruptcy or preparing a bankmptcy petition?
Indude any attomeys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy
tie
[U` ves. Fttt in the detaiis.

 

 

Descriptionandvalueofanypropertytnnsferred Datepaymentor Amountofpaymont
mm
PersonWhoWasPaid _ made
Number Street $

 

 

 

Ciiy Slaie ZlPCode

 

Emdorwebsieaddress

 

 

PemonWhoMadedteFayment.ifNot‘/ou

 

 

Oiiicial Form 107 Shiement of Financial Affail's for lndividua|s Filing for Bankruptcy w 7

 

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m 1 Angela Marie Brown case number mgmt
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Deecrlptionandvaktedarypmpertytrans{ened Datepaymontor mcf
tandervlasmade payment
PersonWhoWasPaid
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Nwrtbef Slmet
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citv state ercode
Emalot'webeiioaddrm

 

PersmwhoMadet|'rePayment,itNotYotr

17.Mthin1 yoarbeforeyoutiledforbankruptcy,didyouoranyomelseacdngonyourbelm"payortrutsferanywnytoanyoneud\o
prmnisedtohelpyoudedwhhywrcreditonorwmakepaymentswyourcredkots?
Donot include any paymentortransfer thatyou listed on line 16.

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aCI vee. Firr in the detairs.

 

 

 

 

 

 

Desertptionandvelueofanypropertymnsfemd Dahpaymentor Amountolpaymold
transform
made
Pereenwhowasl=aid
Number street $
$
citv state ZtPcode

 

18. Withinzyears beforeyoutiledforbankruptcy, did you sell, trade,orothervrise transferanypropertyw anyone, odorthan property
transferred in the ordinary course of your business or tinancial attalrs?
lncludebolhoutrighttransfers andtransfersmadeas secunty(suchasdteganungofasemrntydnerestormongageonyowpmpedy).
Do not include gitis and transfers that you have already listed on this statement
E No
fCl';ves. Ftrr in the dewirs.

 

 

 

 

bescriptionandvalueotpmperty Deecribeanypropertyorplymemsreceived ba\etramhr
transferred ordeb|spaidtnexchange wasmade
PersonwhoReceivedTmtsf¢-:r 1
Ntlwer vaet
Civ State ZlPCorb
Person’srelationshiptoyou
PersonWhoReceivedTraosier

 

 

WS||BSR

 

 

ctw sue DPcooe
Person’srelationshiptoyou

Oflicia| Form 107 Statement of Financial Affairs for lndividuals Filing for Banlmm pay.

 

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Debtor 1 Angela Maric Brown Case number amy
mmeme mm tamm

 

 

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneticiary? (These are often called asset-protection devices.)

|7~¢

Cl ves. Firr in the detairs.

Descriptionandvalueofthepropertytransfemd Dabtransfer
wasnnde

Nameoftmst

 

 

Part 8: Ustc¢ruthanchlAcceunb»lmtumntq$deDepodtloxoe,andenlb

20. Wilhin 1 year before you filed for bankruptcy, were any tinancial accounts or instruments held in your name, orfor your benefit,
closed, sold, moved, or tr'ar\sferred?
|nclude checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and olhertinancial institutions
P':No

|UTYes. Firr in me demiis.

 

 

 

 

 

 

 

 

Lect4digitsofaccountnumber Typeofaeoour\tor batemuntwas mtbalancebden
instrurmnt clowd,sold,moved. cloclngortmnchr
orbansferred
morfFlnlnclallnstlmiorr
xXXX-__ __ __ __ Uctteerting _____ s
number street am
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uBrokerage
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xxxx-_ __ _ __ Clcrteerting ______ $
mdmhuunrueo
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llttrrtber street ulcneymarke!
Clerekerege
Uottier
city state ziPce¢re

M.Doyounowhave,ortidyouhavewithin1 yearbeforeyouhledtorbankmptcy,anysahdeposkboxuod\erdepositoryfor
securities,cash,orothervaluables?
line

[l'.I Yes. r-"irr in the deterre.

 

 

 

 

 

 

Whoelsehadaccesstoit? Describedtecol'r|rents Doyoustill
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m mud lumber Slnet
city state thceee

 

 

Clly StathPCodc

Otlicial Form 107 Statement of Financial Aliairs for lndividuals Filing for Bankruptcy page 8

 

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Debtor 1 Allg¢lt\ Mll’ie Bl'oWll Case number (lrkmm)
First Name me Name test None

 

 

zz.l~laveyoustoredpropertyinastorageunitorplaceotherthanyourhomewithin1yearbeforeyoutiledforbanknrptcy?
"'No

El Yes. Frrr in the deeire.

 

 

Whoelsehasorhadaccewtoit? Doscribethecontents bode
havelt?
Chte
lhmeofStorngoFaciity Name ‘ t nyes
lumber Stnot Number Streot

 

CltyStltl ZlFC°d¢

 

city sav szceir~

Part 9: mm¥o¢|loldorcontrollor$omoono£so

 

23.Doyouholdorconb'olanypropedythatsomeoneelseowns?lncludeanypmpertyyouborrowedfmm,arestoringfor,
orholdintrustforsomeone.

[U'} vee. Firr in the deterrs.

 

 

 

 

 

 

 

 

Mtereistheproperty? Descrlbetheproperty Value
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Part 10: alvol|lhllalboltillvhnnmentlllnhrmlllou

 

For the purpose of Part 10, the following definitions apply:

l Envfromnentllhwmeansanyfederal. state,orlocalstatuteorregulalionconceming pollution,contaminalion,releasesof
hazardous or toxic substances wastes, or material into the air, land, soil, surhce water, groundwater, or other medium,
including statutes or mgulations controlling the cleanup of these substances wastes or material.

l Sire means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

l Haardous material means anything an environmental law defines as a hamrdous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Reportallnotices,rebases,andproceedingsthatyouknowabout, regardlessofwhenl:heyoccumd.
24.Hasanygcvemmentalunitnotiliedyouthatyoumaybeliablewpolendalyhableunderorinvioladonofanenvimmtentallaw?

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Oflicial Form 107 Statement of Financial Affairs for lndividuals Filing for Bankruptcy .`page 1¥

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m 1 Angela Marie Brown case number nmi
Hrst Name we Name last Name

zs.Haveyounotiiedanygovemmentalunitofanyreleasedhmrdousmatedd?

I_U?;No

Cl vee. Fin in the demise

 

 

 

 

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26.Have you been a party in any judicial or adminish'ative proceeding under any environmental law? lnclude settlements and orders.

line

CI Yes. Fill in me dewiis.

 

 

 

 

 

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21.W'rthin4yearsbeforeyoufiledforbankmptcy,didyouownabusineesorhaveanyofthefollowing connectionstoanybusiness?
n A sole proprietor or self-employed in a trade, profession, or other activity, either full-lime or part-time
n A member of a limited liability company (LLC) or limited liability partnership (LLP)
n A partner in a partnership
E] An orrioer, direcwr, or managing exeeutive or a corporation

El Anownerofaueasts%ofthevoangorequityeeouriiieeofaeorpomion

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official Form 107 Staiemont of Financial Affai|'s for ludde Filing for Bankruptcy w 1

 

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Nameofaccountontorbooldreeper Datesbusinessexisted

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lhavereadtheansvrersonthisSta¢ementofFinancialAffairsandanyattachments,andldeclareunderpendtyofper|urythatthe

answersarebueandcorrect.lunderstandd\atmakingafabestaternent,concealh\gpmperty, orob\ainingmoneyorpropertybyfraud
in connectionwithabankruptcycasecan result in hnee upto $250,000, orimprisonmentforuptozllyears, orboth.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

XU?h@/rv\ 3¢

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Didyouattachadditionalpagesto YourSmmentofFinancialAilhirs forlndr'viduals FilingforBankmptcy(°liicial Form 107)?

E§No
n Yes

Ndyoupayoragreewpaysomeonewhoisnotanattonnywhdpyoui"mnbankmptcyfoms?
El No

a ¥es. Name of person . Allach the BankruptcyPetr'lion Freparer's Nolice,
Declaration, and Signawre (Omcial Form 1 19).

 

 

 

Ofliciai Form 107 Swment of Financial Affairs for individuals Filing for Bankruptcy me 12

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~'“-rii m this information to identify your eased

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rif md amended iiiing

 

 

 

Ofiicia| Form 108
Statement of intention for individuals Filing Under Chapter 1 ran

if you are an individual filing under chapter 7, you must h|l out this form if:
l creditors have claims secured by your property, or
l you have leased personal property and the lease has not expired.

¥ou must tile this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is eariier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you ist on the iorm.

if two married people are filing together in a joint case, both are equally responsible for supplying correct infom\ation.
Both debtors must sign and date the form.

Beascomplete andaccurateaspossible.lfmorespace is needed,attachasepamtesheettodrisfomondretopofanyaddidmaipages,
write your name and case number (if known).

Parr 1: ListYour Credltors Who Havo$ecurod Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (OHieia| Form 1060), liil in the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

information below.
ider#lyihecmditorar\dthepropertythatisoollatelal Whafdoyouir\wndtodowit.htheproperlyfhd Dldyotlchllllhemrty
secures a debt? as exempt on Schedule C?
nc:nd::°fs Fast Auto Loans gsu"e"der the Pwpe¢iy~ '0
_ _ URetain the properiyand redeem it. / res
mm of luRmm tlie.propedy and enter into a
securrrrg debt Reatiirmatron Agreement.
nrRetain the property and [explain]:
2008 Toyota Corolla
Creditor's msurrender the property. N°
name: _ m Retain the property and redeem it. Yes
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securing debt Reaiiirmatron Agreemeni.
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grispcr;‘:yuon of m Retain lhe'properly and enter into a
securing debt Reaifirmatron Agreement.
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Ws I'q Surrender the property. |N0
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mm of m Retain improperly and enter into a
securing debt Reatiinnatron Agreemeni.

m Retain the property and [expiain]:

 

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Fnt m wide mms Laet Name

 

Part 2: List Your Unexpired Personal Froperty Leases

 

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066),
till in the information below. Do not list mal estate leases. Unexpiredleases are leases that are still in effect; the lease period has not yet
ended. You may assume an unexpired personal property base if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

 

 

 

 

 

Deseribeyourunexplredpersonalpropertyleases Willtheleasebeassmned?
Lessor's name: UN°
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Pmpenyi

Lessofs name: mm

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Description of leased n es

Propve

Lwofs name: m

Desoription of leased UY%

P'°Pefiyi

Lessofs name: |'E No
lU.-EYes

Deecription of leawd

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Lessor`s name: gregg
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Descn'ption of leased

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Lessor’s name: kNr,
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Desoription of leased '

P"°pe"y?

Lessor’s name: ENo
Ewes

Description of leased

P\'°PUWZ

 

Underpenaltyofperjury, ldeolarethatl have indicated my intentionaboutanypropertyofmyestatethatsecuresadebtand any
personal property that is subject to an unexpired lease.

X an/m X

 

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mate 0 aoi@ pate
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Oiid Form 108 Statement of lntention for individuals Filing Under Chapter 7 page 2

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Fill m this ‘nfoi'mation to identify your case Check mere bcx or~r;y 35 cr

Foim122A-1Supp‘

 

 

 

 

1 Angela
Flrst Name ,
li 1. There is no presumption of abuse.
Debtor 2 1
(Sl>°use. iffiine) lime M Nm mm n 2. The calculation to determine if a presumption of
_ _ _ RNIA abuse applies will be made under Chapter 7

united Swiessankmmcycounwrw= S_°_______ UIHmDeu-dd_€_______‘m Moans rest calculation (omoial Form 122A_2).
Case number ij 3. The Means Test does not apply now because of
(if K'M) qualified military service but it could apply later.

 

 

 

El check if this is an amended ming

Ofi`lcial Form 122§»~"

Chapter 7 Statement of Your Current Monthly income ~ mrs

Be as complete and accurate as poseible. ll two married people are h|ing together, botll are equally responsible for being accurate. lf more
owners neeoeo‘, allachaeeparatesheettothisfonn. lncludetheline numbertowhichtheadditional information applies.Onthetopofany
additional pages, write your name and case number (if known). if you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and tile Stawment of Exemptr'on from Presumption of
Abuse Under § 707(b)(2) (Ofricia| Form 122A-1$upp) with this fonn.

 

 

Part 1: Calculate Your current Monthly lncome

 

1. What is your marital and tiling status? Check one only.

Not married Fill out column A, lines 2-11.
n llarried and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

cl llarried and your spouse is NOT Hling with you. You and your spouse are:
n Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

n Living separately or are legally separated Fill out Column A, lines 2-11; do not nil out Column B. By checking this box, you declare
under penalty cf perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements 11 U.S.C. § 707(b)(7)(B).

Fill inthea\lerage monthly incomethatyou receivedfrom allsources, derivedduringthe€full months beforeyouhlethis
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are liling on September 15. the 6~month period would be March 1 lhrol.lgh
August 31. ifthe amountofyour monthly income varied during the 6 months, add the incomeforall 6 months and dividethetotal by 6.
Flll intheresuit. Donotinclude anyincomeamount more than once. Forexample, iibothspousesown thesarne rental property, putthe
income from that property in one column only. if you have nothing to report for any line, write $0 in the space.

 

 

 

 

Column A Column B
Debtor 1 Debtor 2 or
non-thing spouse
2. Your gross wages, salary, tips, bonuses, overtime, and commissions
motors all payroll deductions). $_-_-_9 $
3. Alimony and maintenance payments. Do not include payments from a spouse if
column B is tilted in. $_____ 5
4. All amounts from any source which are regularty paid for household expenses
of you or your dependents including child support include regular contributions
from an unmarried partner, members of your household, your dependenls, parenls,
and roommates. include regular contributions flom a spouse only if Column B is not
titled in. no not include payments you listed on line 3. $____‘l 5
5. Net income from operating a business, profession, reeth r Debtor 2
or farm
cross reoeipls (before all deductions) $_0 $_____
ordinary and necessary operating expenses - $ 0 - $
Net monthly income from a business, profession, or farm 5 0 $ 339 3 0 5
6. Netincomelromrentalandotherrealproperty Debtort Debtorz
Gross receipts (botoro all deductions) $__0 $
Ordinary and necessary operating expenses - $ 0 - $
Net monthly income from rental or other real property s 0 $ ::r':y.) $ ii $
7. lnterest, dividends, and royalties $

 

 

 

Oliiciai Form 122A-1 Chapter 7 Statement of Your Current Monthly lncome page 1

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m 1 Mela Marie Brown Case number irm)
Fk¢ N¢ne Md¢le Name Last thus
Column A Column B
Debtor 1 Debtor 2 or
non-fding spouse
8. unemployment compensation $ 133§ $
Donotentiertheamount'rfyou contendthatthe amount receivedwasa benefit
under the social security Aer. lnsread, list ii here: ............................... lb
For you $
For your spouse $
9. Pension or retirement income. Do not include any amount received that was a
benetit under the Social Security Act. $ 11 $
10. income from aii other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism ifnecessary, list other sources on a separate page and put the total below.
° s__o_ s
0 $ $
Totalamountsfromseparatepages,ifany. +$ +$
11. Caicuiatieyourtotaicurrentmonthiyincome.AddlinesZthrough10foreach + =
column. iiien add the total for Column A to the total for Cohimn B. $ !3§§ $ 5 1336
`i'ohi carroll
nnr\tirty income

m Determinemwtl\erthe|loansTestAppiiosto¥ou

 

12. Calcuiate your current monthly income for the year. Follow these steps:

12a Copy your total current monthly income from line 11. Copy line 11 here')

Muitiply by 12 (the number of months in a year). X 12
12b. The result is your annual income for this part of the foml. 12b.

13. Calcuiate the median family income that applies to you. Fo|low these steps:

 

 

 

 

 

 

 

 

Fill in the state in which you live. CALIFORNIA
Flil in the number of people in your household 3
F'rlt in the median famity income for your state and size of household. 13. $_'mal_‘__

 

 

 

 

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s oftice.

14. How do the lines compare?

MM Line12bis lessthan orequalto line 13. On thetopofpage1, checkbox 1, mereisnopresumption ofabuse.
GotoPart 3.

wong Line 12b is more than line 13. On the top of page 1, check box 2, The plesump#on of abuse is determined byFoIm 122A-2.
Go to Pari 3 and till out Form 122A-2.

Par't 3: wm

 

Bysigning here,ldedareunderpenahyofperjurythatmeinfonnahononhiisstatementandinanyattachmentsistrueandcorrect.

Xmmm X

 

saraurre`;webiori slgnaiureoioebiorz

page | Date
MM/DD IYYYY MMIDD IYYYY

lfyou checked line 14a. do NOT fill out ortile Form 122A-2.
lfyou d'lecked line 14b, fill out Form 122A-2 and file it with this form.

 

 

 

Ofticial Form 122A-1 Chapter 1 Statement of Your Current Monthiy income page 2

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FB 201A g_=orm 201A) g11/12) ___

UNITED STATES BANKRUPTCY COURT

NOTICE TO CONSUMER DEBTOR(S) UNDER §342(b)

OF TI-IE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer
dcbts: (l) Describes briefly the services available from credit counseling services; (2) Describcs brlet]y the
purposes, benefits and costs of the four types of bankruptcy proceedings you may commence; and (3) Informs you
about bankruptcy crimes and notifies you that the Attorncy General may examine all information you supply in
connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described Thus, you may wish to seek
the advice of an attorney to learn of your rights and responsibilities should you decide to tile a petition Court
employees cannot give you legal advice.

Noticcs from the bankruptcy court are sent to thc mailing address you list on your bankruptcy petition, In
order to ensure that you receive information about events concerning your case, Bankruptcy Rule 4002 requires that
you notify the court of any changes in your address. If you are filing a joint case (a single bankruptcy case for two
individuals married to each other), and each spouse lists the same mailing address on the bankruptcy petition, you
and your spouse will generally receive a single copy of each notice mailed &om the bankruptcy court in a jointly-
addressed envelope, unless you tile a statement with the court requesting that each spouse receive a separate copy of
all notices.

1. Services Available from Credit Counseling Agencies

With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file
for bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities
for credit counseling and provides assistance in performing a budget analysis The briehng must be given
Within 180 days before the bankruptcy tiling. The briefing may be provided individually or in a group (including
briefings conducted by telephone or on the Internet) and must be provided by a nonprofit budget and credit
counseling agency approved by the United States trustee or bankruptcy administrator. The clerk of the bankruptcy
comt has a list that you may consult of the approved budget and credit counseling agencies Each debtor in a joint
case must complete the brieiing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
management instructional course before he or she can receive a discharge The clerk also has a list of approved
financial management instructional courses Each debtor in a joint case must complete the course.

2. The Four Ch§ptcr_§ of the Bankgptcy Code Available to Individuai Consumer _l!ebtors

Chapter : Liquidation ($245 filing fee, $46 administrative fee, $15 trustee surcharge: Total fee $306)

Chapter 7 rs designed for debtors m financial difficulty who do not have the ability to pay their existing
debts. Debtors whose debts are primarily consumer debts are subject to a “means tcst” designed to determine
Whethcr the case should be permitted to proceed under chapter 7. Ifyour mcornc is greater than the median income
for your state of residence and family size, in some cases, the United States trustee (0r bankruptcy administrator), the
trustee, or creditors have the right to tile a motion requesting that the court dismiss your case under § 707(b) of the
Code. lt is up to the court to decide whether the case should be dismissed

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may
have the right to take possession of and sell the remaining property that ls not exempt and use the sale proceeds to
pay your creditors

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are
found to have committed certain kinds of improper conduct described in the Bankruptcy Codc, the court may deny

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Form B 201A, Notice to Consumer Debtor(s) Page 2

your discharge and, if it does, the purpose for which you liled the bankruptcy petition will be defeated

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore,
you may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic
support and property settlement obligations; most Bnes, penalties, forfeitures, and criminal restitution obligations;
certain debts which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused
by operating a motor vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove
that a debt arose from fraud, breach of fiduciary duty, or theft, or from a willful and malicious injury, the banln'uptcy
court may determine that the debt is not discharged

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular lncome ($235 filing
fee, $46 administrative fee: Total fee $281)

Chapter 13 is designed for individuals with regular income who would like to pay all or part of
their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed
certain dollar amounts set forth in the Bankruptcy Code.

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you
owe them, using your future earnings. The period allowed by the court to repay your debts may be three years or
five years, depending upon your income and other factors. The court must approve your plan before it can take
effect.

Aher completing the payments under your plan, your debts are generally discharged except for domestic
support obligations; most student loans; certain taxes; most criminal lines and restitution obligations; certain debts
which are not properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury;
and certain long term secured obligations.

Chapter 11: Reorganization ($1,167 filing fee, $46 administrative fee: Total fee $1,213)

Chapter ll is designed for the reorganization of a business but is also available to consumer debtors. lts
provisions are quite complicated, and any decision by an individual to Ele a chapter ll petition should be reviewed
with an attorney.

Chapter 12: Family Farmer or Fisherman ($200 filing fee, $46 administrative fee: Total fee $246)

Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those
whose income arises primarily from a family-owned farm or commercial fishing operation

3. Bankru tc Crimes and Availabili of Ba tc Pa rsto aw Enforceme t cials

A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty
of perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment or
both. All information supplied by a debtor in connection with a bankruptcy case is subject to examination by the
Attorney General acting through the Office of the United States Trustee, the Ofiice of the United States Attorney,
and other components and employees of the Department of Justice.

WARNING: Section 521(a)(l) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court. The documents and the deadlines for filing them are listed on Form BZOO, which is posted at
http://www.uscourts.gov/bkforms/bankruptcv forms.html#procedure.

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United States Bankruptcy Court
soUTHERN Distn'ct Of cALl;FoRNIA

lN RE. Brown, Angela

Debtor(s). Case No.

The above named Debtor(s) hereby verify that the attached list of creditors is true
and correct to the best of my/our knowledge and that it corresponds to the creditors listed n

in my/our schedules

Date; 07 H}.E)i le U:)?/iw/n

Debtor

 

Joint Debtor

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800 Loan Mart
15821 Ventura Blvd Ste 1
Encion SC 91436

Ad Astra Recovery Service
7330 W 33rd St N Ste 118
Witchita KS 67205

Advance America
4225 Oceanside Ste N
oceanside CA 92056

Advance America
4225 Oceanside Blvd
oceanside CA 92056

Afs/global Holding
1646 Hwy 160 W Ste 105-8160
Fort Mill SC 29708

Bank Of America
P.o. Box 15298
Wilmington SD 19850

Capital One Bank
15000 Capital One Dr
Richmond SD 23238

Cash Call
1 City Blvd W
Orange SC 92868

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£hase Card
P.o. Box 15298
iilmington SD 19850

Collection Consultants
6100 San Fernando Rd Ste
Glendale SC 91201

Fast Auto Loans
309 S Rancho Santa Fe Rd
San Marcos CA 92078

First Premier Bank
601 S Minnesota Awe
Sioux Falls SD 57104

First Premier Bank
601 S Minnesota Ave
Sioux Falls SD 57104

Greenline Loans
P.o. Box 507
Hay SC 59527

Loan Mart
P.o. Box 260210
Encino SC 91426

National Debt Relief
11 Broadway Ste 1600
New York NY 10004

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Sherry Clark Daycare
340 Hannalei Dr
Vista CA 92083

Zocal Loans
P.o. Box 1147
Mission SD 57555

